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                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                                                CASE NO: 24-90533 (ARP)
In Re:                                                                          CHAPTER 11
                                                                                (JOINTLY ADMINISTERED)

 WELLPATH HOLDINGS, INC., et. al.,
             Debtors.
__________________________/

 CLAIMANTS GRACIENNE MYERS and DANIEL MYERS MOTION FOR RELIEF
      FROM AUTOMATIC STAY TO ALLOW INSURANCE COVERED
                 LIABILITY ACTION TO PROCEED

     This is a motion for relief from the automatic stay. If it is granted, the movant may act
  outside of the bankruptcy process. If you do not want the stay lifted, immediately contact the
   moving party to settle. If you cannot settle, you must file a response and send a copy to the
    moving party at least 7 days before the hearing. If you cannot settle, you must attend the
            hearing. Evidence may be offered at the hearing and the court may rule.

                               Represented parties should act through their attorney.

There will be a hearing on this matter on December 19, 2024 at 9:00 a.m.,Via video Conference:
 https://meet.goto.com/JudgePerez Or Telephonic Participation: : 1-832-917-1510/ Conference
                                         Room: 282694

          Claimants, GRACIENNE MYERS and DANIEL MYERS, (“Claimants”), by and

through counsel, and pursuant to 11 U.S.C. §362(d), and the Amended Interim Order

Enforcing Automatic Stay, [ECF#69], move the Court to grant relief to Claimants from the

automatic stay, (“Motion”), and in support state:

          1.         Claimants seek relief from stay to allow their state court lawsuit pending since

2023 to proceed given there is an insurance policy providing Debtors with protection, legal

fees and costs and a jury in that action is in the best position to liquidate the amount of the

claims.

          2.         In 2023, Claimants sued non-debtor, TB Isle Resort, LLP, for the traumatic

brain injury GRACIENNE MYERS suffered from the defendants negligence. The suit was

filed in Miami-Dade Circuit Court, in and for the State of Florida Gracienne Myers and
                    BEHAR, GUTT & GLAZER, P.A. DCOTA A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
          DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACH: 561-347-7160 • DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
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 Daniel Myers vs TB Isle Resort LP, Case No.: 2023- 24472 CA 01, (“State Court Action”). A

 true copy of the Amended Complaint filed in the State Court Action is attached to this Motion

 as Exhibit “A”, and made a part hereof.

        3.         On October 1, 2024, 901 45TH STREET WEST PALM BEACH FLORIDA

BEHAVIORAL HEALTH HOSPITAL COMPANY, LLC, (“Debtor”), and, its employee,

TARIKA WYNDS, (“Wynds”), were joined in the State Court Action based on their negligence

when Claimant GRACIENNE MYERS came under their care for her psychosis from the

traumatic brain injury, and she ended up being a victim of a sexual assault from another patient

in Debtor’s care.

         4.       Claimant, DANIEL MYERS, sued the Debtor and Wynds in the State Court

Action for contracting the sexually transmitted disease which Debtor falsely advised him his

wife had not contracted.

         5.       The Debtor and the related debtors are covered for these incidents by a primary

 insurance policy with $3,000,000 per claimant in limits. The policy also covers defense costs

 and fees. See, attached to this Motion and made a part hereof as Exhibit “B”, the Texas

 Instrument Insurance Policy. In addition the Debtors have a number of additional excess

 insurance policies described in the attached affidavit of the Debtor’s Director of Insurance. See

 Exhibit “C”.

         6.       On November 19, 2024, the Debtor filed a Notice of Stay, attaching the Amended

Interim Order Enforcing Automatic Stay of this Court. The Notice of Stay is attached to this

Motion as Exhibit “D” and made a part hereto.

          7.      Where, as here, there is adequate protection to the Debtor and the related debtors,

the State Court Action should be permitted to proceed to jury trial in state court to liquidate the

amount of the claim against the related debtor 901 45TH STREET WEST PALM BEACH

FLORIDA BEHAVIORAL HEALTH HOSPITAL COMPANY, LLC, and, its employee,

                  BEHAR, GUTT & GLAZER, P.A. DCOTA A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
        DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACH: 561-347-7160 • DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
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TARIKA WYNDS. In re New York Medical Group, P.C., 265 B.R. 408 (S.D.N.Y., 2001) (relief

from stay granted to claimant to proceed with medical malpractice action, not only to the extent

of insurance coverage, but to judgment, with the excess becoming a claim against the bankruptcy

estate.)

                8.    Adequate “cause” exists to grant the relief sought in the Motion pursuant to 11

U.S.C.362(d). The Debtor has liability insurance to cover the claims brought against the Debtor

in the State Court Action. TB Isle Resort, LLP, the other named defendant in the State Court

Action is not a debtor in any bankruptcy. To the extent the applicable insurance may be

insufficient to cover any judgment to be entered in the State Court Action in favor of the

Claimants, Claimants will file a proof of claim in these chapter 11 cases.

           9.         Claimant respectfully requests that this Motion be heard on December 5, 2024 as

per the Interim Order as there are state court hearings set on this case on December 11, 2024 and

December 13, 2024.

           WHEREFORE, Claimants, request this Honorable Court to grant relief from the

automatic stay and authorize the State Court Action, as defined in the Motion to proceed and/or

allow this Motion to be heard on December 5, 2024 or before the scheduled hearing date set

forth above and granting such other and further relief as appropriate under the circumstances.



                                             CERTIFICATE OF CONFERENCE

           I HEREBY Certify that undersigned counsel attempted to resolve the above issue and the

relief sought in this Motion, by speaking with Steve Szanzer, Esq., of McDermott Will & Emery,

LLP, Debtor’s counsel on November 25, 2024. Mr. Szanzer indicated he could not agree with

the relief sought in the Motion at this time.




                      BEHAR, GUTT & GLAZER, P.A. DCOTA A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
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                                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 26, 2024, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF, and that the foregoing document is being

served this day on all counsel of record or pro se parties authorized manner for those counsel or

parties who are authorized to receive electronically Notices of Electronic Filing.



                                                                Respectfully submitted,


                                                                BEHAR, GUTT & GLAZER, P.A.
                                                                Attorneys for Gracienne & Daniel Myers
                                                                DCOTA, 1855 Griffin Road, Suite A-350
                                                                Ft. Lauderdale, Florida 33004
                                                                Telephone: (954)266-3710
                                                                Fax: (954) 266-3709
                                                                Email: bsb@bgglaw.com
                                                                Secondary: jgarcia@bgglaw.com

                                                                By: /s/ Brian S. Behar
                                                                BRIAN S. BEHAR
                                                                FBN: 727131




                  BEHAR, GUTT & GLAZER, P.A. DCOTA A-350, 1855 GRIFFIN ROAD, FORT LAUDERDALE, FLORIDA 33004
        DADE: 305-931-3771 • BROWARD: 954-733-7030 • PALM BEACH: 561-347-7160 • DADE FAX: 305-931-3774 • PALM BEACH FAX: 561-347-7164
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Filing # 208029134 E-Filed 10/01/2024 02:14:29 PM
                                                                                                    Exhibit "A"


        IN THE CIRCUIT COURT OF THE 11TH
        JUDICIAL CIRCUIT, IN AND FOR
        MIAMI-DADE COUNTY, FLORIDA

        CIVIL DIVISION

        CASE NO: 2023-24772-CA-01

        GRACIENNE MYERS and
        DANIEL MYERS,

               Plaintiffs,

        vs.

        TB ISLE RESORT LP, 901 45TH STREET
        WEST PALM BEACH FLORIDA
        BEHAVIORAL HEALTH HOSPITAL
        COMPANY, LLC, and TARIKA WYNDS,

               Defendants.
                                                           /

                                            AMENDED COMPLAINT

               Plaintiffs, GRACIENNE MYERS (hereinafter GRACIENNE) and DANIEL MYERS,

        (hereinafter DANIEL) sue the Defendants, TB ISLE RESORT LP (hereinafter TURNBERRY),

        901 45TH STREET WEST PALM BEACH FLORIDA BEHAVIORAL HEALTH HOSPITAL

        COMPANY, LLC (hereinafter NBH), and TARIKA WYNDS, and allege:

               1.      This is a negligence action for damages in excess of $75,000.

               2.      Plaintiffs, GRACIENNE MYERS and DANIEL MYERS are husband and wife,

        are residents of Palm Beach County, Florida, are above the age of 18, and are each sui juris.

               3.      Defendant TURNBERRY is a Foreign Limited Partnership registered to do

        business in the State of Florida with its principal office in Miami Dade County, Florida.



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        4.      Defendant NBH is a foreign corporation registered to do business in Florida and

is conducting business in West Palm Beach, Florida in the name, NEURO BEHAVIORAL

HOSPITAL NORTH.

        5.      Defendant TARIKA WYNDS is a resident of Palm Beach County and in all

respects sui juris.

                                                  FACTS

        6.      At all times material, Defendant TURNBERRY owned and operated the country

club resort, marina, and golf course properties known generally as Turnberry Yacht and Country

Club, located in Aventura, Florida.

        7.      At all times material, Defendant TURNBERRY used the registered fictitious

name, “JW Marriot Miami Turnberry Resort & Spa”.

        8.      On or about December 29, 2021, GRACIENNE was Defendant TURNBERRY’s

invitee and was dining outside at one of the Defendant’s restaurants located in close proximity to

the golf course on the property, when she was struck by a golf ball causing serious closed head

injuries manifesting as a brain injury with accompanying mental health issues which worsened

over time.,

        9.      On or about May 7, 2023, GRACIENNE, as a result of a severe deterioration of

her mental health resulting in the need for involuntary commitment, was admitted as a

psychiatric patient and invitee of Defendant NBH. Defendant WYNDS was assigned to monitor

and report the activities and whereabouts of Plaintiff, GRACIENNE MYERS. WYNDS did not

provide medical or healthcare treatment to GRACIENNE MYERS. During this time while under

Defendant NBH’s care, MYERS was found having non-consensual sexual intercourse with

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another incompetent psychiatric patient of the psychiatric facility. As a result of that intercourse,

unbeknownst to GRACIENNE, she contracted a disease. Upon her discharge from the facility

she transferred that disease to her husband, DANIEL.


              COUNT 1-NEGLIGENCE AGAINST TURNBERRY (GRACIENNE)

       10.      Plaintiff GRACIENNE MYERS readopts and re-alleges paragraphs 1-9.

       11.      At all times material, TURNBERRY, as the owner and operator of the property as

improved, had a non-delegable duty to provide a reasonably safe environment for folks such as

GRACIENNE which duty included providing reasonable measures to protect diners at the

restaurant from errant hit golf balls.

       12.      At that time and place, TURNBERRY fell below the requisite standard of care

and breached its duty of care by failing to ensure that there were reasonable protections in the

area where GRACIENNE was dining to protect against golf balls from hitting patrons of the

restaurant.

       13.      TURNBERRY knew or should have known of the potential danger and risk to

patrons in this area given the foreseeability of errantly hit golf balls coming into the outside

seating restaurant area.

       14.      TURNBERRY had a duty to:

                a) have and utilize protective screens, nets, or similar devices in place to stop a

                   golf ball from coming into contact with patrons;

                b) warn patrons of the danger of golf balls coming into the area; and,

                c) take reasonable steps to protect patrons from the foreseeable and known risk


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                    of golf balls coming into this area.

        15.     TURNBERRY breached its duty of care:

                a) by failing to have the screen, net, or similar device in place on the date and

                    time of this incident;

                b) by failing to warn patrons such as GRACIENNE of this danger; and,

                c) by failing to take reasonable steps to protect patrons such as GRACIENNE

                    from the foreseeable and known risk of golf balls coming into this area.

        16      As a result of the above negligence, GRACIENNE was struck in the head by a

golf ball resulting in significant bodily injury, including a traumatic brain injury which caused

mental deterioration and psychiatric symptoms, resulting in the need for neurologic treatment

and psychiatric hospitalization, unwanted disease, resulting pain and suffering, disability,

disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

hospitalization, medical, and nursing care and treatment, loss of earnings, loss of ability to earn

money, and aggravation of previously existing conditions. These losses are either permanent or

continuing, and Plaintiff will suffer the losses in the future.

        WHEREFORE, GRACIENNE MYERS demands judgment for compensatory damages

against TB ISLE RESORTS LP., taxable costs, and such other relief as is appropriate under the

circumstances and demands trial by jury.

                  COUNT II- CLAIM AGAINST TURNBERRY (DANIEL)

        17.     Plaintiff DANIEL MYERS readopts and re-alleges paragraphs 1-2,8-9, and 11-

16.

        18.     As a result of the above negligence DANIEL sustained bodily injury, resulting

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pain and suffering, disability, disfigurement, mental anguish, loss of capacity for the enjoyment

of life, expense of hospitalization, medical, and nursing care and treatment, loss of earnings, loss

of ability to earn money, and aggravation of previously existing conditions. These losses are

either permanent or continuing, and DANIEL will suffer the losses in the future and as a result of

the severe injuries to his wife, DANIEL has lost her support, services, and consortium in the past

and in the future.

       WHEREFORE, DANIEL MYERS demands judgment for compensatory damages against

TB ISLE RESORTS LP., taxable costs, and such other relief as is appropriate under the

circumstances and demands trial by jury.

                 COUNT III – NEGLIGENCE AGAINST NBH (GRACIENNE)

       19.       Plaintiff GRACIENNE MYERS readopts and re-alleges paragraphs 1-9.

       20.       On or about May 7, 2023, having been Baker Acted into Defendant NBH for

psychosis, GRACIENNE was Defendant’s invitee and under its care and control under the

circumstances.

       21.       At all times material, NBH, as the owner and operator of the hospital, had a non-

delegable duty to provide a reasonably safe environment for folks such as GRACIENNE which

duty included protecting GRACIENNE from herself and other patients.

       22.       At that time and place, NBH breached its duty of ordinary care by failing to

properly monitor and protect GRACIENNE such that she would not be able to engage in non-

consensual sexual intercourse with another person.

       23.       NBH knew or should have known of the potential danger and risk to folks such as

GRACIENNE who under the circumstances of her admission was a danger to both herself and to

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others, given her mental status, and given the mental status of other folks in NBH’s facility at the

time.

        24.    NBH had a duty to provide such protection to its invitees including adequate and

reasonable monitoring and security measures to prevent harm or injury.

        25.    NBH breached its duty of care by failing to institute and implement such

protections and security measures such that its invitees in the facility were able to engage in non-

consensual sexual intercourse.

        27     As a result of the above negligence, GRACIENNE suffered significant bodily

injury and disease, resulting pain and suffering, disability, disfigurement, mental anguish, loss of

capacity for the enjoyment of life, expense of hospitalization, medical, and nursing care and

treatment, loss of earnings and/or earning capacity. These losses are permanent or continuing,

and GRACIENNE will suffer the losses in the future.

        WHEREFORE, GRACIENNE MYERS demands judgment for compensatory damages

against NBH taxable costs, and such other relief as is appropriate under the circumstances and

demands trial by jury.

                  COUNT IV- NEGLIGENCE AGAINST NBH (DANIEL)

        28.    Plaintiff DANIEL MYERS readopts and re-alleges paragraphs 19-27.

        29.    Defendant NBH had a duty to use reasonable care with respect to its discharge of

GRACIENNE. In connection therewith, Defendant, NBH, upon learning that GRACIENNE had

a non-consensual sexual encounter with another incompetent patient, reasonable care required

that Defendant NBH test GRACIENNE for sexually transmitted diseases and/or advise DANIEL

that before he and GRACIENNE engage in sexual relations as husband and wife, that

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GRACIENNE be tested for sexually transmitted diseases. Alternatively, Defendant, NBH

voluntarily undertook a duty to test GRACIENNE for sexually transmitted diseases but was

negligent in failing to test GRACIENNE properly. Defendant NBH was further negligent by

reporting to DANIEL that GRACIENNE tested negative for sexually transmitted diseases, when

in fact she contracted herpes from the non-consensual sexual encounter and transferred that

disease to DANIEL.

        30.      As result of the above negligence, DANIEL has suffered significant bodily injury,

resulting pain and suffering, disability, mental anguish, loss of capacity for the enjoyment of life,

expense of medical care and treatment, loss of earnings and/or earning capacity, and aggravation

of pre-existing conditions, and as a result of the severe injuries to his wife, DANIEL, has lost her

support, services and consortium. These losses are permanent or continuing and DANIEL will

suffer the losses in the future.

        WHEREFORE, DANIEL MYERS demands judgment for compensatory damages against

NBH taxable costs, and such other relief as is appropriate under the circumstances and demands

trial by jury.

           COUNT V-MEDICAL NEGLIGENCE AGAINST NBH (GRACIENNE)

        31.      Plaintiff GRACIENNE MYERS, readopts and realleges paragraphs 1-9 and 20-

27.

        32.      Alternatively, in the event it is determined that the monitor was a healthcare

professional and was exercising healthcare as defined in Chapter 766 of the Florida Statutes,

Plaintiff has fully complied with Chapter 766 of the Florida Statutes requirements before filing

this action.

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        33.      As a result of the negligence, GRACIENNE suffered nonconsensual sexual

intercourse resulting in significant bodily injury and disease, resulting pain and suffering,

disability, disfigurement, mental anguish, loss of capacity for the enjoyment of life, expense of

hospitalization, medical, and nursing care and treatment, loss of earnings and/or earning capacity

and aggravation of pre-existing conditions. These losses are either permanent or continuing, and

Plaintiff will suffer the losses in the future.

        WHEREFORE, GRACIENNE MYERS demands judgment for compensatory damages

against NBH, taxable costs, and such other relief as is appropriate under the circumstances and

demands trial by jury.

     COUNT VI CLAIM FOR MEDICAL NEGLIGENCE AGAINST NBH (DANIEL)

        34.      Plaintiff, Daniel Myers readopts and realleges paragraphs 31-33.

        35.      As result of the above negligence, DANIEL has suffered significant bodily injury,

resulting pain and suffering, disability, mental anguish, loss of capacity for the enjoyment of life,

expense of medical care and treatment, loss of earnings and/or earning capacity, and aggravation

of pre-existing conditions, and as a result of the severe injuries to his wife, DANIEL, has lost her

support, services and consortium. These losses are permanent or continuing and DANIEL will

suffer the losses in the future.

        WHEREFORE, DANIEL MYERS demands judgment for compensatory damages against

NBH taxable costs, and such other relief as is appropriate under the circumstances and demands

trial by jury.




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                 COUNT VII- NEGLIGENCE AGAINST TARIKA WYNDS

       36.     Plaintiff, GRACIENNE MYERS, readopts and realleges paragraphs, 1-9 and 19-

27.

       37.     At all times material, TARIKA WYNDS was assigned to monitor and supervise

GRACIENNE MYERS for her protection.

       38.     Defendant WYNDS had a duty to use reasonable care with respect to her

monitoring, supervision and protection of Plaintiff.

       39.     Defendant WYNDS breached that duty by failing to properly monitor, supervise

and protect Plaintiff on the first morning of her admission, including by failing to account for

Plaintiff’s whereabouts.

       40.     As a result of Defendant WYNDS negligence, GRACIENNE suffered significant

bodily injury and disease, resulting pain and suffering, disability, disfigurement, mental anguish,

loss of capacity for the enjoyment of life, expense of hospitalization, medical, and nursing care

and treatment, loss of earnings and/or earning capacity. These losses are permanent or

continuing, and GRACIENNE will suffer the losses in the future.

       WHEREFORE, GRACIENNE MYERS demands judgment for compensatory damages

against Defendant WYNDS, taxable costs, and such other relief as is appropriate under the

circumstances and demands trial by jury.

                                   DEMAND FOR JURY TRIAL

       Plaintiffs hereby demand trial by jury of all matters so triable as a matter of right.




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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the

Florida ePortal on this 1st day of October 2024 on Eric C. Sage, Esq., Mitrani, Rynor, Adamsky

& Toland, P.A., 1200 Weston Road, Penthouse, Weston, FL 33326 (esage@mitrani.com,

service@mitrani.com, kscaggs@mitrani.com, aschlossberg@mitrani.com.

                                                          SCOTT JAY FEDER, P.A.
                                                          Attorneys for Plaintiffs
                                                          4649 Ponce De Leon Boulevard, Suite 402
                                                          Coral Gables, Florida 33146
                                                          Telephone:      (305) 669-0060
                                                          Facsimile:      (305) 669-4220
                                                          E-Service:      Scottj8@aol.com
                                                          assistantscottjfeder@hotmail.com

                                                          By:       /s/Scott Jay Feder
                                                                    Scott Jay Feder
                                                                    Florida Bar No. 359300

                                                          and

                                                          MANDINA & GINSBERG, PLLC
                                                          Attorneys for Plaintiffs
                                                          Laurel Court - Suite 107
                                                          15500 New Barn Road
                                                          Miami Lakes, Florida 33014
                                                          Tel: (305) 358-ll8l
                                                          Fax: (305) 231-7900
                                                          E-Service:
                                                          marcginsberg@mg-trialattorneys.com

                                                          By:       /s/Marc R Ginsberg
                                                                    Marc R. Ginsberg
                                                                    Florida Bar No. 333336




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                          TEXAS INSURANCE COMPANY
                                NAIC No. 16543
                              10805 Old Mill Road
                             Omaha, Nebraska 68154




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                                                                        STR-COV-CW-TIC-2107-003




                                TEXAS INSURANCE COMPANY
                                      NAIC No. 16543
                                    10805 Old Mill Road
                                   Omaha, Nebraska 68154


This Policy Consists of:

•        Declarations
•        One or more coverage parts

Coverage Part Consists of:

•        One or more coverage forms
•        Applicable forms and endorsements

In Witness Whereof, we have caused this policy to be executed and attested, and if
required by state law, this policy shall not be valid unless countersigned by our authorized
representative.



                President                                                  Secretary

Questions about your Insurance? Your agent or broker is best equipped to provide
information about your insurance. Should you require additional information or assistance
resolving a complaint, call or write to the following (please include your policy or claim number
in all correspondence):


In the event of a claim, please notify the following:

Email:         PolicyServices@auw.com
               cc: Claims@usqrisk.com
Mail:          attn : Policy Services
               Texas Insurance Company
               10805 Old Mill Road
               Omaha, Nebraska 68154
Phone:         (877) 234-4420




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                               POLICYHOLDER NOTICE
                          TENNESSEE SURPLUS LINES DISCLOSURE


This insurance contract is with an insurer not licensed to transact insurance in this
state and is issued and delivered as a surplus lines coverage pursuant to the Tennessee
insurance statutes.

Surplus Lines Broker:     Robert Allen
                          CRC Group dba Pro-Praxis Insurance
                          32 Old Slip, 4th Floor
                          New York, NY 10005




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                                        POLICYHOLDER NOTICE
           US TREASURY DEPARTMENT’S OFFICE OF FOREIGN ASSETS CONTROL (“OFAC”)
                           ADVISORY NOTICE TO POLICYHOLDERS


No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.

This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.

The Oﬃce of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of “national emergency”. OFAC has identified and listed numerous:

•       Foreign agents;
•       Front organizations;
•       Terrorists;
•       Terrorist Organizations; and
•       Narcotics traﬃckers;

as “Specially Designated Nationals and Blocked Persons”. This list can be located on the United States
Treasury’s website – http//www.treas.gov/ofac.

In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
Other limitations on the premiums and payments also apply.




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                                                                                     STR-TRID-CW-NAC-2107-001

                                          POLICYHOLDER NOTICE
                     NOTICE OF TERRORISM INSURANCE COVERAGE – TRIA DECLINED


This Notice is issued in accordance with the terms and conditions of the Terrorism Risk Insurance Act, as
amended (the “Act”).

You are hereby notified that coverage for “insured losses” directly resulting from an “act of terrorism” as defined in
the Act, as explained in the Policyholder Disclosure notice, (1) was made available to you; and (2) you declined or
failed to confirm the purchase of such coverage. Therefore, this insurance does not provide coverage for losses
directly resulting from any “act of terrorism” as defined by the Act except to the extent, if any, otherwise provided
by this Policy.


INSTRUCTION TO THE BROKER

You are instructed to deliver a copy of this notice to our insured.




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                                                                              STR-DABC-CW-TIC-2107-001

                                       POLICYHOLDER NOTICE
                   NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


If you want to learn more about the compensation Texas Insurance Company pays its agents and brokers please
contact:


Email: PolicyServices@auw.com
Mail: attn : Policy Services
       Texas Insurance Company
       10805 Old Mill Road
       Omaha, Nebraska 68154


This Notice is provided on behalf of Texas Insurance Company.




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                                                                   Exhibit "B"


                      HEALTH CARE FACILITY LIABILITY POLICY
                           REIMBURSEMENT FORM
                             INFORMATION PAGE

     THIS POLICY CONTAINS COVERAGES WRITTEN ON A CLAIMS-MADE BASIS. IT IS DELIVERED AS
    SURPLUS LINES INSURANCE COVERAGE IN ACCORDANCE WITH THE SURPLUS LINES INSURANCE
                                  LAWS OF YOUR STATE.



THE COMPANY:     Texas Insurance Company


POLICYHOLDER:    CCS-CMGC Parent Holdings, LP
                 3340 Perimeter Hill Dr.
                 Nashville, TN 37211




POLICY NUMBER:                  BUQSTRTTN011300_050001_03

POLICY PERIOD BEGINNING:        15th March 2023




                                            EXHIBIT A
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                           HEALTH CARE FACILITY LIABILITY POLICY
                                REIMBURSEMENT FORM
                                    COVER PAGE
    THIS POLICY CONTAINS COVERAGES WRITTEN ON A "REIMBURSEMENTS MADE" BASIS. IT IS
    DELIVERED AS SURPLUS LINES INSURANCE COVERAGE IN ACCORDANCE WITH THE SURPLUS
                          LINES INSURANCE LAWS OF YOUR STATE.
In consideration of the payment of the premium, and in reliance upon the statements and representations in the applications
for insurance and the Coverage Summary, we agree to provide the insurance contained in the policy.

THE COMPANY:       Texas Insurance Company

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
              3340 Perimeter Hill Dr.
              Nashville, TN 37211

POLICY NUMBER: BUQSTRTTN011300_050001_03

The policy consists of this Cover Page and the following forms:

Title
Coverage Summary
Definitions Part
General Conditions
General Exclusions
HIPAA Civil Monetary Penalty Endorsement
Professional Legal Defense Coverage Part
Correctional Medicine Civil Rights Endorsement
Sexual Misconduct Coverage Part
General Liability Coverage Part
General Aggregate Limit Endorsement
Professional Liability Coverage Part
Amendatory Endorsement – Policyholder Responsibilities
Amendatory Endorsement – “Pollution Incident”
Amendatory Endorsement – Removal of Products & Completed Ops Exclusion
Cross Policy Liability Exclusion
Condition Precedent to Policy Benefits Endorsement
Non-Reinstating Limit of Liability per Professional Incident or Occurrence
Collateral Related Reduction in Limits Endorsement
Incident Reporting
Broad Form Insured Endorsement
Limited Company Authorization Amendatory Endorsement – CMGC
Additional Insured Endorsement – Primary Non-Contributory
Blanket Additional Insured Endorsement
Waiver of Subrogation Endorsement
Communicable Disease Exclusion
Sanction Limitation Exclusion Endorsement
Confidential or Personal Information Disclosure Endorsement

If any provision of the policy changes, we will issue an endorsement stating the effective date of any changes. Terms
appearing in the policy in bold face print are defined in the Definitions section.

IN WITNESS WHEREOF, we have caused the Cover Page to be signed by our President and Secretary. The policy is
effective only if countersigned on the Coverage Summary by our duly authorized representative.




                               Secretary                                        President
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                            HEALTH CARE FACILITY LIABILITY POLICY
                                   REIMBURSEMENT FORM
                                    COVERAGE SUMMARY
1.   Policyholder and Address: CCS-CMGC Parent Holdings, LP                                Majority Risk Location:
                               3340 Perimeter Hill Dr                                      Same as Mailing Address
                               Nashville, TN 37211

2.   Policy Number:                   BUQSTRTTN011300_050001_03

3.   Policy Period: From 3/15/2023to 3/15/2024 12:01 a.m. Standard Time at the address of the Policyholder as stated
     above.

4.   Premium:

5.   Limits of Liability:

     Health Care Facility General Liability Coverage Part (COVERAGES A, B and C):
        (1) Each Occurrence Limit (COVERAGE A) Products & Completed Operations Included                $   3,000,000
        (2) Fire Damage Limit (COVERAGE A)                                                             $     100,000
        (3) Personal Injury and Advertising Injury Limit (COVERAGE B)                                  $   3,000,000
        (4) General Aggregate Limit                                                                    $   6,000,000

     Health Care Facility Professional Liability Coverage Part (COVERAGES C, D and E):
        (1) Each Professional Incident (COVERAGE C)                                                    $   3,000,000
        (2) Each Occurrence Limit (COVERAGES D and E)                                                  $   3,000,000
        (3) General Aggregate Limit                                                                    $   6,000,000

6.   Condition Precedent to Policy Benefits:                                                           $ 6,000,000

7.   Retroactive Dates (if applicable):
     Health Care Facility General Liability Coverage Part (COVERAGES A and B):                    March 15, 2021
     Health Care Facility Professional Liability Coverage Part (COVERAGES C, D and E):            November 15, 2013

8.   Scheduled Facilities:                                                   Each Scheduled Facility on file with Company

9.   Covered Subsidiaries and Other Insureds:                                                   On file with Company




                                                               Countersigned by:




                                                               Authorized Representative




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                        HEALTH CARE FACILITY LIABILITY POLICY
                               REIMBURSEMENT FORM
                                 DEFINITIONS PART

As used in the policy, the following terms shall have the following meanings:

Administration means:
     1. Giving counsel to employees with respect to employee benefit programs;
     2. Interpreting employee benefit programs;
     3. Handling of records and processing of claims in connection with employee benefit programs; and
     4. Effecting enrollment, termination or cancellation of employees under employee benefit programs;
          provided all such benefits are provided by the policyholder.
Advertising injury means injury arising out of one or more of the following offenses, which takes place at or from a
scheduled facility:
     1.    Oral or written publication of material that slanders or libels a person or organization or disparages a person's
           or organization's goods, products or services;
      2.    Oral or written publication of material that violates a person's right of privacy;
      3.    Misappropriation of advertising ideas or style of doing business; or
      4.    Infringement of copyright, title or slogan.
Assertion of liability means a written demand claiming that an insured is liable for a professional incident or
occurrence. An assertion of liability will be deemed to have been made when such assertion of liability is received by
such insured or his representative.
Auto means a land motor vehicle, trailer or semitrailer designed for travel on public roads, including any attached machinery
or equipment.
Benefit error means any negligent act, error or omission in the administration of the employee benefit programs of the
policyholder. A series of related acts, errors or omissions shall be deemed to be a single benefit error, regardless of the
number of claims, claimants who sustain damages, or number of insureds against whom such claims are made, and such
benefit error will be deemed to have occurred at the earliest of such negligent acts, errors or omissions.
Bodily injury means bodily injury, sickness or disease sustained by a person, including death resulting from any of these
at any time.
Certified act of terrorism means an act that is certified by the Secretary of the Treasury, in concurrence with the Secretary
of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal Terrorism Risk
Insurance Act of 2002. The federal Terrorism Risk Insurance Act of 2002 sets forth the following criteria for a certified act
of terrorism:
      1.    The act resulted in aggregate losses in excess of $5 million; and
      2.    The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by
            an individual or individuals acting on behalf of any foreign person or foreign interest, as part of an effort to
            coerce the civilian population of the United States or to influence the policy or affect the conduct of the United
            States Government by coercion.
Cover Page means the Cover Page, or any renewal or modification thereof, forming a part of the policy. The terms of the
Cover Page which is in effect at the time coverage attaches (which may be the time an event occurs or the time a report is
made, as described in the respective Coverage Part) will apply to any claim or suit, even if the policy is later amended.
Coverage effective date means the date so designated in the Coverage Summary.
Coverage Summary means the Coverage Summary, or any renewal or modification thereof, forming a part of the policy.
The terms of the Coverage Summary which is in effect at the time coverage attaches (which may be the time an event
occurs or the time a report is made, as described in the respective Coverage Part) will apply to any claim or suit, even if
the policy is later amended.
Coverage territory means the United States of America (including its territories and possessions), and Puerto Rico.
Covered subsidiary means (1) any subsidiary so designated on the Coverage Summary and (2) any subsidiary
created or acquired during the policy period; provided that, within sixty (60) days after the creation or acquisition thereof,
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the policyholder provides full details of the transaction under which the subsidiary was created or acquired, the
policyholder pays any applicable premium, and the subsidiary is added as an insured by endorsement to the policy.
Damages means all amounts of money which are reimbursable under this policy because of any professional incident,
injury, or property damage.
Defense costs means all expenses incurred in the investigation, adjustment, settlement and adjudication of any claim or
suit, including legal fees and expenses; provided that this definition shall not include any expenses incurred by, or on behalf
of, any Third Party Administrator that may adjust, manage or otherwise handle any claim covered by this policy


Discharge of pollutants means:
      1.     The actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of pollutants:
             a.     At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
                    loaned to, any insured;
             b.     At or from any premises, site or location which is or was at any time used by an insured for the
                    handling, storing, disposing, processing or treating of pollutants;
             c.     Which are or were at any time transported, handled, stored, treated, disposed of or processed as waste
                    by or for an insured or any person for whom an insured may be legally responsible; or
             d.     At or from any premises, site or location on which an insured or any contractors or subcontractors
                    working directly or indirectly on any insured's behalf are performing operations:
                    (1)   If the pollutants are brought on or to the premises, site or location in connection with such
                          operations by such insured, contractor or subcontractor; or
                    (2)   If the operations are to test for, monitor, clean up, remove, contain, treat, detoxify or neutralize or
                          in any way respond to, or assess the effects of pollutants; or
      2.     Any loss, cost or expense arising out of any:
             a.     Request, demand or order that any insured or others test for, monitor, clean up, remove, contain, treat,
                    detoxify or neutralize, or in any way respond to, or assess the effects of pollutants, or
             b.     Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
                    cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
                    assessing the effects of pollutants.
Employee means a person on the regular payroll of the policyholder, an other insured or a covered subsidiary who has
federal income taxes withheld from his or her compensation and who has an assigned work schedule.
Employee benefit programs means group life insurance, group accident and health insurance, profit sharing plans,
pension plans, employee stock subscription plans, worker’s compensation, unemployment insurance, social security and
disability benefits insurance, or any other similar plan, provided in whole or in part by the policyholder.
Employment practices claim means any claim asserted pursuant to statutory or common law by any past, present or
prospective employee for or arising out of alleged (1) wrongful dismissal, discharge or termination, either actual or
constructive, of employment, (2) wrongful failure to employ or promote, (3) failure to grant tenure, (4) sexual or workplace
harassment of any kind, (5) discrimination as to any term, condition, benefit or privilege of employment, (6) failure to provide
adequate employee policies and procedures, (7) negligent hiring, supervision or retention of any employee, (8) employment
related misrepresentations, (9) invasion of privacy, (10) tort of outrage or intentional infliction of emotional distress or (11)
violation of any federal employment law, including regulations promulgated thereunder or any similar state or local law.
Extended reporting period means any period of time after expiration of the policy period during which any claim or suit
may be reported, under a Coverage Part providing coverage on a claims-made basis, by reason of the issuance of a
reporting endorsement.
Federal employment law means any of the following laws, as amended:
      1.     Fifth and Fourteenth Amendments to the United States Constitution;
      2.     Civil Rights Act of 1866 (42 U.S.C. § 1981);
      3.     Civil Rights Act of 1871 (42 U.S.C. § 1983);
      4.     Civil Rights Act of 1964 (42 U.S.C. § 2000e, et seq.), including, but not limited to, the Pregnancy
             Discrimination Act;


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      5.    Age Discrimination in Employment Act of 1967 (29 U.S.C. § 623, et seq.), including, but not limited to, the
            Older Workers Benefit Protection Act;
      6.    Title I of the Americans with Disabilities Act of 1990 (42 U.S.C. § 12101, et seq.);
      7.    Civil Rights Act of 1991 including, but not limited to, 42 U.S.C. § 1981a;
      8.    Equal Pay Act of 1963 (29 U.S.C. § 206(d)(i)); and
      9.    Family and Medical Leave Act of 1993 (29 U.S.C. § 2601, et seq.).
Injury means bodily injury, personal injury, or advertising injury.
Insured means any person or organization qualifying as such under the respective Coverage Part.
Insured contract means:
      1.    A lease of premises;
      2.    A sidetrack agreement;
      3.    Any easement or license agreement;
      4.    An obligation as required by ordinance, to indemnify a municipality, except in connection with work for a
            municipality; or
      5.    An elevator maintenance agreement.
      An insured contract does not include that part of any contract or agreement that indemnifies any person or
      organization for damage by fire to premises rented or loaned to an insured.
Leased employee means a person leased to the policyholder or covered subsidiary by a labor leasing firm, under a
written agreement between the policyholder or covered subsidiary and the labor leasing firm, to perform duties related
to the conduct of the policyholder's, or covered subsidiary's, business.
Loading or unloading means the handling of property:
      1.    After it is moved from the place where it is accepted for movement into or onto an aircraft, watercraft or auto;
      2.    While it is in or on an aircraft, watercraft or auto; or
      3.    While it is being moved from an aircraft, watercraft or auto to the place where it is finally delivered;
      but loading or unloading does not include the movement of property by means of a mechanical device, other than
      a hand truck, that is not attached to the aircraft, watercraft or auto.
Managed care organization means a health maintenance organization, physician provider organization, preferred provider
organization, physician/hospital organization, independent practice association, managed services organization or other
organization responsible for managing or financing the delivery of health care to patients.
Occurrence means an accident, including continuous or repeated exposure to substantially the same general harmful
conditions, which takes place at or from a scheduled facility.
Other insurance means any valid and collectible insurance, self-insurance, self-insured retention, self-insured trust, or risk
transfer instrument of any kind, other than this policy, that provides defense or indemnity to any insured for any claim, loss,
liability or damages covered by this policy.
Other insured means a person or organization so designated in the Coverage Summary or by an endorsement to the
policy.
Personal injury means injury, other than bodily injury, arising out of one or more of the following offenses, which takes
place at or from a scheduled facility:
      1.    False arrest, detention or imprisonment;
      2.    Malicious prosecution;
      3.    The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room,
            dwelling or premises that a person occupies by or on behalf of its owner, landlord or lessor;
      4.    Oral or written publication of material that slanders or libels a person or organization or disparages a person's
            or organization's goods, products or services; or
      5.    Oral or written publication of material that violates a person's right of privacy.
Policy shall have the meaning given on the Cover Page.
Policyholder means the person or organization so designated on the Cover Page.

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                                                           Definitions Part
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Policy period names the period specified as such in the Coverage Summary.
Pollutants means any solid, liquid, gaseous or thermal irritant or contaminant, including but not limited to smoke, vapor,
soot, fumes, acids, alkalis, chemicals and wastes (including materials to be recycled, reconditioned or reclaimed).
Professional health care services means:
      1.    Medical, surgical, dental, x-ray or nursing treatment, including the furnishing or dispensing of food, beverages,
            drugs or medical, dental or surgical supplies or appliances in connection therewith;
      2.    Handling of or performing postmortem examinations on human bodies; and
      3.    Service by any insured as a member of a formal accreditation, standards review or similar professional board
            or committee of the policyholder, having jurisdiction over the health care provided by the policyholder, or
            acting at the written direction of any such board or committee.
Professional incident means any act or omission in the furnishing of professional health care services, occurring at or
from a scheduled facility, or as emergency care, rendered gratuitously and in good faith, at the scene of an accident. Any
such act or omission, together with all other acts or omissions in the furnishing of professional health care services to
any one person shall be considered one professional incident. In no event shall separate, discrete events or injuries that
occur during a single professional procedure or course of treatment constitute more than one professional incident. For
purposes of this definition, treatment of mother and fetus (or fetuses) from conception through postpartum care constitutes
a single professional incident, and a continuing course of treatment or repeated exposure to substantially the same
conditions constitutes a single professional incident.
Property damage means:
      1.    Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use shall
            be deemed to occur at the time of the physical injury that caused it; or
      2.    Loss of use of tangible property that is not physically injured. All such loss of use shall be deemed to occur at
            the time of the occurrence that caused it.
Report, reported, and reporting mean, when used with respect to a professional incident, occurrence, injury, or
medical payment which has become the subject of an assertion of liability, the receipt by our Claims Department, from
an insured or its representative, of a copy of the assertion of liability and written notice specifying (1) the date the
assertion of liability was received, (2) the date, time, and place of the professional incident, occurrence, injury, or
medical payment which forms the basis of the assertion of liability, (3) a description of such professional incident,
occurrence, injury, or medical payment, (4) the name, address, and age of the patient or claimant, and (5) the names of
witnesses, including other treating physicians. If we have designated a form for the reporting of claims or suits, the report
must be made by means of such form, which must be fully completed and signed as provided therein. Disclosure of incidents
by an insured as a part of engineering or loss control services or claims audits made in connection with self- insured
retention programs shall not be considered the reporting of a claim or suit.
Reporting endorsement means an endorsement to a Coverage Part which provides coverage on a claims-made basis
providing for an extended reporting period.
Retroactive date means the retroactive date applicable to a Coverage Part which provides coverage on a claims-made
basis, as specified in the Coverage Summary.
Scheduled facility means (1) a health care facility listed in the Coverage Summary or (2) a health care facility which is
acquired, rented or occupied by the policyholder during the policy period; provided that, within sixty (60) days after the
acquisition or occupation thereof, the policyholder provides full details of the transaction under which the facility was
acquired or occupied, the policyholder pays any applicable premium, and the facility is added as a scheduled facility by
endorsement to the policy. Mobile or ambulatory services, such as home health care or air-ambulance services, provided
out of or from a scheduled facility, will be considered as having been provided at such scheduled facility.
Subsidiary means any entity of which the policyholder has or controls the right to elect or appoint more than fifty percent
(50%) of the directors or trustees.
Suit means a civil proceeding in which damages are alleged against an insured which would be covered by the policy.


Suit includes:
      1.    An arbitration proceeding in which such damages are claimed and to which an insured must submit or does
            submit with our consent; or


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      2.    Any other alternative dispute resolution proceeding in which such damages are claimed and to which an
            insured submits with our consent.
Third-party payor means an insurance company, Medicare, Medicaid or other person or organization which by law or
agreement is or may be liable for all of or a portion of the cost of medical care provided to patients by the policyholder,
provided the third-party payor shall not include a person or organization owned or controlled by, or under common
ownership or control with, the policyholder.
We, our and us refer to the insurance company issuing the policy, which is designated as "THE COMPANY" on the
Cover Page.




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                                                        Definitions Part
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                         HEALTH CARE FACILITY LIABILITY POLICY
                                REIMBURSEMENT FORM
                                GENERAL CONDITIONS

I.     LIMITS OF LIABILITY AND DEDUCTIBLES
       The limits of liability specified in the Coverage Summary shall apply to all claims or suits made or brought against
       any or all insureds regardless of the number of: a) Insureds; b) Claims made or suits; c) persons or organizations
       making claims or suits. The limit of liability specified in the Coverage Summary as “each incident” is the most we will
       reimburse for the sum of all damages and defense costs paid by the policyholder during the policy period resulting
       from any one professional incident or occurrence to which this insurance applies. The limit of liability stated in the
       Coverage Summary as “annual aggregate” is the most we will reimburse for the sum of all damages and defense
       costs paid by the policyholder during the policy period resulting from all professional incidents or occurrences to
       which this insurance applies. We shall have the right to allocate damages and defense costs among claimants and
       insureds as we deem appropriate.
       If a Self-Insured Retention is shown in the Coverage Summary, our liability arises only after the policyholder has
       paid damages and defense costs in an amount equal to the Self-Insured Retention.
       If a “Deductible” is shown for any insured in the Coverage Summary, the policyholder shall be liable for payment
       of all damages and defense costs with respect to each professional incident and or occurrence in an amount
       equal to the Deductible shown in the Coverage Summary. Our limit of liability will be reduced by any Deductible
       amount for which we make a reimbursement payment to the policyholder.
       If a Condition Precedent to Policy Benefits is shown in the Coverage Summary, our liability arises only after the
       policyholder has paid damages and defense costs in an amount equal to the Condition Precedent to Policy
       Benefits.


II.    RIGHTS AND DUTIES OF POLICYHOLDER
       Unless named as an insured in the Coverage Summary, the policyholder is not an insured and shall have no
       coverage under this policy. However, the policyholder shall pay all premiums or fees, receive all return premiums,
       if any, provide any consents, including consent to settle, as may be required, and receive all notices and invoices
       under this policy. All provisions in the General Conditions which are applicable to the insureds shall also apply to
       the policyholder.
III.   INSPECTION AND AUDIT
       We shall be permitted but not obligated to inspect any insured’s property and operations at any time. Neither our
       right to make inspections nor the making thereof nor any report thereon shall constitute an undertaking, on behalf of
       or for the benefit of any insured or others, to determine or warrant that such property or operations are safe, healthful,
       or in compliance with any law, rule or regulation.
       We may examine and audit the policyholder’s books and records at any time during the policy period and
       extensions thereof, and within three years after the final termination of the policy, as far as they relate to the subject
       matter of this insurance.
IV.    INSUREDS’ DUTIES
       A.    When any payment for damages or defense costs is made by the policyholder during the policy period and to
             which this insurance applies such payments must be reported to us as soon as possible, but not later than 60
             days thereafter.
       B.    If we exercise our right to defend any claim or suit to which this insurance applies, each insured shall cooperate
             with us and, upon our request, assist in making settlements, in the conduct of suits, and in enforcing any right
             of contribution or indemnity against any person or organization who may be liable to such insured because of
             injury with respect to which insurance is afforded under this policy, and the insured shall attend hearings and
             trials and assist in securing and giving evidence and obtaining the attendance of witnesses.
       C.    No insured shall alter, destroy, or dispose of patient records or otherwise misrepresent or conceal facts
             pertinent to any incident, claim or suit.



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                                                        Reimbursement Form
                                                         General Conditions
                                                                   .
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        D.    If any insured makes a payment for damages or defense costs to which this insurance applies and which is
              to be reimbursed during the policy period, such insured shall provide to us all documentation evidencing the
              payment to be reimbursed, including but not limited to, evidence of the date and substance of the professional
              incident or occurrence giving rise to the payment the date the payment was made, the type of liability incurred,
              and the amount of the payment.
        Failure by any insured to comply with its obligations under the policy shall be grounds for us to terminate the
        policy.


V.      CLAIMS AGAINST US
        No claim shall lie against us unless, as a condition precedent thereto, there shall have been full compliance with all
        of the terms of this policy, nor until the amount of any insured’s obligation to pay shall have been finally determined
        either by judgment against an insured after actual trial or by written agreement of such insured, the claimant, and
        us. Any person or organization or the legal representative thereof who has secured such judgment or written
        agreement shall thereafter be entitled to recover under this policy to the extent of the insurance afforded by this
        policy. No person or organization shall have any right under this policy to join us as a party to any action against an
        insured to determine the insured’s liability, nor shall we be impleaded by an insured or any legal representative.
VI.     OTHER INSURANCE
        The insurance provided by this policy is excess over any other insurance and will not contribute or participate in
        any defense or indemnity until all other insurance has been exhausted.
VII.    SUBROGATION
        In the event of any reimbursement under this policy, we shall be subrogated to any insured’s rights of recovery
        therefor against any person or organization, and any such insured shall execute and deliver instruments and papers
        and do whatever else is necessary to secure such rights. No insured shall do anything to prejudice such rights.
VIII.   ASSIGNMENT
        No insured may assign any interest in this policy. If, however, any insured shall die, such insurance as afforded by
        this policy shall apply to such insured’s legal representative, as an insured, but only while acting within the scope
        of the representative’s duties as such. No insured shall assign any cause of action against us that relates to or arises
        in connection with this policy, or that is based on allegations that we did not fulfill our obligations to any insured in
        good faith.
IX.     CHANGES
        Notice to any agent or knowledge possessed by any agent or by any other person shall not affect a waiver or change
        in any part of this policy or estop us from asserting any right under the terms of this policy; nor shall the terms of
        this policy be waived or changed, except by endorsement issued to form a part of this policy.
X.      CANCELLATION OR EXPIRATION
        This policy, or coverage of any insured thereunder, may be canceled by the policyholder by mailing to us written
        notice stating when thereafter the cancellation shall be effective. This policy, or coverage of any insured thereunder,
        may be canceled by us by mailing to the policyholder, at the address shown in the Coverage Summary, written
        notice stating when such cancellation shall be effective, in accordance with applicable state law. The effective date
        and hour of cancellation stated in the notice shall become the end of the policy period for each insured to which
        such cancellation applies. Delivery of such written notice either by the policyholder or by us shall be equivalent to
        mailing. Upon cancellation or expiration of the policy, we will have no further liability or obligation under the policy.
        All fees are fully earned and nonrefundable. Bankruptcy, insolvency or failure of any insured or any insured's estate
        to satisfy in full all requirements of the Condition Precedent to Policy Benefits Endorsement (if the policy includes
        such endorsement) or a change in corporate control or corporate form of the policyholder will cause the immediate
        cancellation of this policy and shall relieve us of any of our obligations hereunder.
XI.     NON-RENEWAL OF POLICY
        This policy is hereby non-renewed upon expiration. While neither the policyholder nor we have any obligation to
        renew this policy, we may elect to offer reinstatement. Any such reinstatement will be issued on the policy forms and
        endorsements then in effect, in accordance with our rules, rates, rating plans and applicable fees.
XII.    FRAUD AND MISREPRESENTATIONS




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        By acceptance of this policy, all insureds agree that the statements in the Coverage Summary and in their
        respective applications or renewal applications for insurance are their agreements and representations, that this
        policy is issued in reliance upon the truth of such representations, and that this policy embodies all agreements
        existing between themselves and us or any of our agents relating to this insurance. In the event of any fraud, material
        misrepresentation or omission by any insured in any application or renewal application for insurance, this policy is
        void as to the party committing such fraud, material misrepresentation or omission, and no coverage will be afforded
        to such party under this policy.
XIII.   ARBITRATION
        Both the insureds and we acknowledge that this agreement evidences a transaction involving interstate commerce.
        Any dispute, claim or controversy arising out of, relating to or in connection with this policy, its subject matter or its
        negotiation, as to the existence, validity, interpretation, performance, non-performance, enforcement, operation,
        breach of contract, breach of warranty, continuance or termination thereof or any claim alleging fraud, deceit, or
        suppression of any material fact or breach of fiduciary duty shall be submitted to binding arbitration in accordance
        with Title 9 U.S.C. § 1 et seq. (The United States Arbitration Act) and the Commercial Arbitration Rules of the American
        Arbitration Association. Such arbitration proceedings may be initiated by either party by notice in writing to the other
        and to the American Arbitration Association. Each party to arbitration shall bear its own arbitration costs and expenses.
        However, in the event any party is required to file a petition or commence any such other proceeding to compel
        arbitration, the arbitrator may award that party reasonable attorney’s fees and costs incurred in having to bring such
        action. The arbitrator shall have the discretion to order a pre-hearing exchange of information by the parties, including,
        without limitation, production of requested documents, exchanging of summaries of testimony of proposed witnesses,
        and examination by deposition of parties. Notwithstanding contrary state law or regulation, the arbitrator shall have
        the authority to award any remedy or relief allowed under the provisions of the United States Arbitration Act, including,
        without limitation, specific performance of any obligation created under this policy, the awarding of punitive damages,
        the issuance of an injunction, or the imposition of sanctions for abuse or frustration of the arbitration process. Any
        arbitration award shall be in writing and shall specify the factual and legal bases of the award. Judgment on the award
        rendered by the arbitrator shall be final and may be entered in any court having jurisdiction thereof. The provisions
        hereof shall be a complete defense to any suit, action, or proceeding in any federal, state or local court or before any
        administrative tribunal with respect to any dispute, claim or controversy arising under this policy.
        If we maintain an office in the state in which the address of the policyholder (as specified in the Coverage Summary)
        is located, the arbitration shall proceed in any county in which we maintain such office in such state. If we do not
        maintain an office in the state in which the address of the policyholder (as specified in the Coverage Summary) is
        located, the arbitration shall proceed in the county that includes the capital of the state in which the address of the
        policyholder (as specified in the Coverage Summary) is located.
XIV. GOVERNING LAW
        This policy shall be construed, and the legal relations between us and the insureds (and anyone claiming under the
        insureds) shall be determined, in accordance with the laws of the state in which the address of the policyholder, as
        specified in the Coverage Summary, is located, except that the Federal Arbitration Act (Title 9 of the United States
        Code) shall apply to the rights and obligations of the parties to submit any dispute, claim or controversy arising under
        this policy to arbitration, as provided in Section XIII above.




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                       HEALTH CARE FACILITY LIABILITY POLICY
                              REIMBURSEMENT FORM
                              GENERAL EXCLUSIONS
A.   NUCLEAR ENERGY LIABILITY EXCLUSION
     1.   The policy does not apply:
          a.     to bodily injury or property damage:
                 (1)   With respect to which any insured is also insured under a nuclear energy liability policy issued by
                       Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability Underwriters or
                       Nuclear Insurance Association of Canada, or would be insured under any such policy but for its
                       termination upon exhaustion of its limit of liability; or
                 (2)   Resulting from the "hazardous properties" of "nuclear material" and with respect to which (1) any
                       person or organization is required to maintain financial protection pursuant to the Atomic Energy
                       Act of 1954, or any law amendatory thereof, or (2) the such insured is, or had the policy not been
                       issued would be, entitled to indemnity from the United States of America, or any agency thereof,
                       under any agreement entered into by the United States of America, or any agency thereof, with
                       any person or organization;
          b.     under any Medical Payments coverage, to expenses incurred with respect to bodily injury resulting from
                 the "hazardous properties" of "nuclear material" and arising out of the operation of a "nuclear facility" by
                 any person or organization;
          c.     to bodily injury or property damage resulting from the "hazardous properties" of "nuclear material," if:
                 (1)   The "nuclear material" (1) is at any nuclear facility owned by, or operated by or on behalf of, any
                       insured or (2) has been discharged or dispersed therefrom;
                 (2)   The "nuclear material" is contained in "spent fuel" or "waste" at any time possessed, handled, used,
                       processed, stored, transported or disposed of by or on behalf of any insured; or
                 (3)   The bodily injury or property damage arises out of the furnishing by any insured of services,
                       materials, parts or equipment in connection with the planning, construction, maintenance,
                       operation or use of any nuclear facility.
     2.   As used in this exclusion:
          "Hazardous properties" include radioactive, toxic or explosive properties.
          "Nuclear material" means "source material," "special nuclear material" or "byproduct material."
          "Source material," "special nuclear material" and "byproduct material" have the meanings given them in the
          Atomic Energy Act of 1954 or in any law amendatory thereof.
          "Spent fuel" means any fuel element or fuel component, solid or liquid, which has been used or exposed to
          radiation in a "nuclear reactor."
          "Waste" means any waste material (1) containing "byproduct material" and (2) resulting from the operation by
          any person or organization of any nuclear facility included within the definition of "nuclear facility" under
          paragraph (1) or (2) thereof.
          "Nuclear facility" means
          a.     Any "nuclear reactor";
          b.     Any equipment or device designed or used for (i) separating the isotopes of uranium or plutonium, (ii)
                 processing or utilizing "spent fuel," or (iii) handling, processing or packaging "waste";
          c.     Any equipment or device used for the processing, fabricating or alloying of "special nuclear material" if
                 any time the total amount of such material in the custody of an insured at the premises where such
                 equipment or device is located consists of or contains more than 25 grams of plutonium or uranium 233
                 or any combination thereof, or more than 250 grams of uranium 235; or
          d.     Any structure, basin, excavation, premises or place prepared or used for the storage or disposal of
                 "waste";


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               and includes the site on which any of the foregoing is located, all operations conducted on such site and
               all premises used for such operations.
     This exclusion does not apply to the liability of any insured, otherwise covered by the policy, arising out of the
     practice of nuclear medicine or activities related to nuclear medicine by the policyholder.
B.   ASBESTOS EXCLUSION
     The policy does not apply to liability for bodily injury, property damage, disability, shock, mental anguish or mental
     injury at any time arising out of the manufacture of, mining of, use of, or exposure to asbestos products, asbestos
     fibers or asbestos dust, or to any obligation of any insured to indemnify any party because of damages arising out of
     such bodily injury, property damage, disability, shock, mental anguish, or mental injury at any time as a result of
     the manufacture of, mining of, use of, or exposure to asbestos products, asbestos fibers, or asbestos dust.
C.   CAPS ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
     With respect to any one or more certified acts of terrorism, we will not reimburse any amounts for which we are not
     responsible under the terms of the federal Terrorism Risk Insurance Act of 2002 (including subsequent acts of
     Congress pursuant to the Act) due to the application of any clause which results in a cap on our liability for payments
     for terrorism losses.




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                  HEALTH CARE PROFESSIONAL LIABILITY POLICY
                           REIMBURSEMENT FORM
     HEALTH INSURANCE PORTABILITY AND ACCOUNTABILITY ACT (HIPAA)
                CIVIL MONETARY PENALTY ENDORSEMENT

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03



THIS ENDORSEMENT MODIFIES THE PROFESSIONAL LIABILITY COVERAGE PART OF THE POLICY.

We shall reimburse the policyholder all sums that an insured shall become legally obligated to pay as a Civil Monetary
Penalty as a result of a HIPAA Civil Violation first alleged against an insured during the policy period or any applicable
extended reporting period, arising out of any HIPAA Civil Violation committed or alleged to have been committed by an
insured or by any person for whose actions the insured is legally responsible, provided that:
    1. such HIPAA Civil Violation
         a. arises out of the rendering of or failure to render professional health care services by the insured; and
         b. is committed or alleged to have been committed on or after the retroactive date; and
    2. prior to the effective date of this policy, the insured had no knowledge of such HIPAA Civil Violation or any fact,
       circumstance, situation, or incident that may have resulted in a HIPAA Civil Violation.

The most we will reimburse for the combined total of Civil Monetary Penalties and Legal Expenses for each HIPAA Civil
Violation first alleged during the policy period or any applicable extended reporting period shall not exceed the Limit of
Liability stated below as applicable to Each HIPAA Civil Violation. Subject to the foregoing, the most we will reimburse for
the combined total of Civil Monetary Penalties and Legal Expenses for all HIPAA Civil Violations first made during the
policy period or any applicable extended reporting period shall not exceed the Limit of Liability stated below as applicable
to All HIPAA Civil Violations.
    1.   $0              Each HIPAA Civil Violation
    2.   $0              All HIPAA Civil Violations
The above-stated limits of liability are contained within, and not in addition to, the Limits of Liability stated on the Coverage
Summary. Any reimbursements made pursuant to this endorsement will erode the Limits of Liability stated on the
Coverage Summary.

The insured shall report an alleged HIPAA Civil Violation to us within ten (10) days of receipt of notice, by the insured or
anyone on his behalf. The insured must provide such report prior to incurring any legal fees or legal expenses related to
such matter.

For purposes of this endorsement only, the following terms shall have the following meanings:
    1. “Civil Monetary Penalty” means a monetary penalty assessed as a result of a HIPAA Civil Violation.
    2. “HIPAA Civil Violation” means a civil violation of the Health Insurance Portability and Accountability Act or any
       amendment or modification of that act.
    3. “Legal Expenses” means reasonable and necessary fees, costs, and expenses incurred in the investigation,
       defense, and appeal of any HIPAA Civil Violation, but does not include any Civil Monetary Penalty or any wages,
       salaries, or fees of any insured.

All other provisions of the policy shall remain unchanged.



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                                             Health Insurance Portability and Accountability Act
                                               (HIPPA) Civil Monetary Penalty Endorsement
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                  HEALTH CARE PROFESSIONAL LIABILITY POLICY
                           REIMBURSEMENT FORM
                 PROFESSIONAL LEGAL DEFENSE COVERAGE PART

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03

THIS ENDORSEMENT MODIFIES THE PROFESSIONAL LIABILITY COVERAGE PART OF THE POLICY.

Limits of Liability:
Each Covered Investigation:                $25,000
Each Covered Audit:                        $25,000
Each Policy Period:                       $150,000

I.     DEFINITIONS
       Terms appearing in bold face print shall have the meanings given in DEFINITIONS PART. In addition:

      Appointed counsel means the attorney or firm of attorneys that, in our sole discretion, is either (1) appointed by us
      in writing, or (2) appointed by a covered insured with our prior written approval, to defend a covered insured in
      any covered investigation.
      Audit expenses means fees and expenses of an accountant or other consultant engaged by a covered insured in
      connection with any covered audit. Audit expenses do not include any taxes, penalties or other expenses incurred
      by a covered insured.
      Covered audit means any audit or review of billing or medical records undertaken by a covered insured in
      response to an investigation or proceeding commenced by any federal or state agency alleging violation by any
      covered insured of Medicare or Medicaid laws, rules or regulations relating to reimbursement for medical services.
      Covered insured means any insured under the Professional Liability Coverage Part of the policy.
      Covered investigation means any one or more of the following:
       A.     An investigation or proceeding commenced by the governmental or regulatory agency charged with
              determining whether the covered insured participated in the improper transfer of a patient
              (“dumping”), in violation of the Consolidated Omnibus Budget Reconciliation Act of 1986, as
              amended (“COBRA/EMTALA”).
       B.     An investigation or proceeding commenced by the governmental or regulatory agency charged with
              the enforcement of compliance with laws regulating Medicare or Medicaid (or other federal or state
              health care program offered as an alternative to Medicare or Medicaid), to determine whether the
              covered insured provided professional health care services improperly to a patient covered by
              Medicare or Medicaid (or other federal or state health care program offered as an alternative to
              Medicare or Medicaid).
       C.     An investigation or proceeding commenced by a utilization and quality control peer review
              organization, but only at the level of such investigation or proceeding in which sanctions may be
              imposed on the covered insured.
       D.     An investigation or proceeding commenced by the governmental or regulatory agency charged with
              the enforcement of compliance with regulations pertaining to the Clinical Laboratory Improvement
              Amendments of 1988 (“CLIA”), whether or not the covered insured was in violation of such
              regulations.
       E.     An investigation or proceeding commenced by the governmental or regulatory agency charged with
              the enforcement of compliance with regulations pertaining to the Health Insurance Portability and


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            Accountability Act of 1996 (“HIPAA”) or the Omnibus Budget Reconciliation Act of 1990 (“OBRA ‘90”)
            including all OBRA Acts updating OBRA ‘90, whether or not the covered insured was in violation of
            such regulations.
      F.    An investigation or proceeding commenced by the governmental or regulatory agency charged with
            the enforcement of compliance with the Occupational Safety and Health Administration (“OSHA”)
            regulations pertaining to bloodborne pathogens, whether or not the covered insured was in violation
            of such regulations.
      G.    A subpoena or request received by the covered insured, requiring the covered insured to testify in
            a trial or deposition, or to provide other discovery, other than as an expert witness, in connection with
            a legal proceeding (1) arising out of a professional incident, but (2) in which the covered insured
            is not a party.
      H.    A claim or investigation instituted by a patient of the covered insured alleging errors or omissions by
            the covered insured in billing statements for professional health care services rendered to such
            patient.
      I.    A disciplinary proceeding initiated by a licensure commission, board of ethics or similar professional
            body, which accuses a covered insured of, or investigates an accusation that a covered insured
            engaged in, improper or unprofessional conduct in the course of such covered insured's medical
            practice. An investigation or proceeding commenced by any federal or state agency alleging
            violation by any covered insured of Medicare or Medicaid laws, rules or regulations relating to
            reimbursement for medical services.
      J.    An investigation or proceeding commenced by a hospital or its medical staff for the purpose of
            revocation, non-renewal, termination, suspension, modification or restriction of an insured's staff
            privileges or for the purpose of peer review or credentialing.
      K.    A proceeding alleging violation of the federal Anti-Kickback statute or liability under the Federal False
            Claims Act or the Patient Protection and Affordable Care Act.
      Criminal prosecution means any governmental action seeking enforcement of criminal laws, including offenses for
      which conviction could result in imprisonment.
      Legal expenses means the normal, reasonable and customary charges of the appointed counsel in defending a
      covered insured in any covered investigation, including reasonable out-of-pocket charges incurred by such
      appointed counsel. Legal expenses does not include damages, fines, judgments or penalties that may be
      assessed in any covered investigation or paid in any settlement thereof, or expenses incurred in the defense of
      any criminal prosecution.
      Utilization and quality control peer review organization means a utilization and quality control peer review
      organization under contract with the U. S. Department of Health and Human Services to review the professional
      activities of physicians and other health care practitioners and providers under the federal Social Security Act, as
      amended, while acting within the scope of its duties under such contract.
II.   INSURING AGREEMENT
      Subject to the applicable limit of liability stated above, we agree to reimburse the policyholder for all legal
      expenses (in excess of any applicable Self-Insured Retention, Deductible, or Condition Precedent to Policy
      Benefits) incurred by a covered insured in the course of a covered investigation, provided that:
      A.    the incident giving rise to the covered investigation occurs after the retroactive date applicable to
            such covered insured and prior to the termination of the policy;
      B.    the covered insured first receives written notice of the commencement of the covered
            investigation within the policy period; and
      C.    the covered investigation is first reported during the policy period; and

      D.    the incident giving rise to the covered investigation is not the subject of any previous or current
            claim for professional liability which has been reported to another insurance company or self-insured
            retention or trust or any other risk transfer instrument providing coverage to the insured.
      Subject to the applicable limit of liability stated above, we agree to reimburse the policyholder for all audit
      expenses (in excess of any applicable Self-Insured Retention, Deductible, or Condition Precedent to Policy
      Benefits) incurred by a covered insured in the course of a covered audit, provided that:


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       A.    the acts or omissions of the covered insured giving rise to the covered audit occurred after the
              retroactive date applicable to such covered insured and prior to the termination of the policy;
       B.     the covered insured first receives written notice of the investigation or proceeding to which the
             covered audit relates within the policy period; and
       C.    such investigation or proceeding is first reported during the policy period.
       PERSONS INSURED
       Only covered insureds are insured under this Coverage Part.
III.   LIMIT OF LIABILITY
       The limit of liability specified above as "Each Covered Investigation" and the limit of liability specified above as “Each
       Covered Audit” is the most we will reimburse the policyholder for any one covered investigation or any one
       covered audit, respectively. The limit of liability specified above as "Each Policy Period" is the most we will
       reimburse the policyholder for all covered investigations and all covered audits which are first reported during
       the policy period.
       All covered investigations and covered audits arising out of the same underlying facts or events, whenever and
       wherever initiated, are deemed to be one covered investigation or covered audit, even if related covered
       investigations or covered audits comprising such single covered investigation and covered audit were made in
       more than one Policy Period.

IV.    REPORTING ENDORSEMENT PROVISIONS
       If a Reporting Endorsement is issued for a covered insured, the period for reporting covered investigations
       under this Coverage Part shall be automatically extended for the duration of the Reporting Endorsement, but only
       for the reporting of covered investigations which are otherwise covered hereunder. Termination or cancellation of
       the Reporting Endorsement shall automatically terminate the period for reporting covered investigations under
       this Coverage Part.




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              HEALTH CARE PROFESSIONAL LIABILITY POLICY
                       REIMBURSEMENT FORM
           CORRECTIONAL MEDICINE CIVIL RIGHTS ENDORSEMENT
POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03



THIS ENDORSEMENT MODIFIES THE PROFESSIONAL LIABILITY COVERAGE PART OF THE POLICY.

Paragraph g of Item 2, Exclusions, of COVERAGE C: HEALTH CARE FACILITY PROFESSIONAL LIABILITY
COVERAGE is hereby deleted and replaced with the following:

      g.   Liability arising out of any antitrust violation (except for liability arising from service by an insured as a member of a
           formal accreditation, standards review or similar quality control professional board or committee of the policyholder, or
           actions taken at the direction of such a board or committee, for which coverage is otherwise afforded), unfair competition,
           discrimination, or any other act or omission which violates any statute, ordinance or regulation imposing any fine, penalty
           or other sanction, including but not limited to attorneys’ fees; however, this exclusion does not apply to liability for
           civil rights violations arising under the Civil Rights Act of 1871 (42 U.S.C. § 1983), any amendments thereto, or
           any similar state statutes, provided that such liability arises out of the rendering of or failure to render
           professional health care services by an insured to any natural person.




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                       HEALTH CARE PROFESSIONAL LIABILITY POLICY
                                REIMBURSEMENT FORM
                          SEXUAL MISCONDUCT COVERAGE PART
POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


THIS ENDORSEMENT MODIFIES THE PROFESSIONAL LIABILITY COVERAGE PART OF THE POLICY.

Limits of Liability:      $3,000,000 Each Covered Investigation
                          $6,000,000 Each Policy Period


I.     DEFINITIONS
       Terms appearing in bold face print shall have the meanings given in form Definitions Part. In addition:
       Appointed counsel means the attorney or firm of attorneys that, in our sole discretion, is either (1) appointed by us
       in writing, or (2) appointed by a covered insured with our prior written approval, to defend a covered insured in
       any covered investigation.
       Covered insured means any insured under the Professional Liability Coverage Part of the policy.
       Covered investigation means a claim or investigation instituted by a patient of the covered insured alleging
       sexual misconduct or harassment by the covered insured or any person for whose acts or omissions the covered
       insured is legally responsible in the course of providing professional health care services to such patient.
       Covered location means any location listed on this endorsement for which the policyholder is required by contract
       to provide sexual misconduct coverage.
       Criminal prosecution means any governmental action seeking enforcement of criminal laws, including offenses for
       which conviction could result in imprisonment.
       Legal expenses means the normal, reasonable and customary charges of the appointed counsel in defending a
       covered insured in any covered investigation, including reasonable out-of-pocket charges incurred by such
       appointed counsel. Legal expenses does not include damages, fines, judgments or penalties that may be
       assessed in any covered investigation or paid in any settlement thereof, or expenses incurred in the defense of
       any criminal prosecution.
II.    INSURING AGREEMENT
       Subject to the applicable limit of liability stated above, we agree to reimburse the policyholder all sums (in excess
       of any applicable Self-Insured Retention, Deductible, or Condition Precedent to Policy Benefits) that the covered
       insured shall become legally obligated to pay as damages or legal expenses incurred by such covered insured in
       the course of a covered investigation, provided that:
       A.     the alleged sexual misconduct or harassment giving rise to the covered investigation occurs (1) on
              or after the retroactive date applicable to such covered insured as listed below and (2) prior to the
              Termination Date applicable to such covered insured as listed below or the date of termination of
              the insurance provided by the policy to the covered insured, whichever is earlier;
       B.     the covered insured first receives written notice of the commencement of the covered
              investigation within the policy period;
       C.     the covered investigation is first reported during the policy period;
       D.     the alleged sexual misconduct or harassment giving rise to the covered investigation occurs at a
              covered location;
       E.     for claims of direct liability against a covered insured, the alleged sexual misconduct or harassment
              giving rise to the covered investigation was not malicious or intentionally wrongful; and

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       F.    for claims of vicarious liability against a covered insured, the covered insured did not know and
             reasonably could not have known, at the time of the alleged sexual misconduct or harassment, of
             prior sexual misconduct or harassment by the person alleged to have committed the act or omission
             giving rise to the covered investigation.
III.   PERSONS INSURED
       Only covered insureds are insured under this Coverage Part.
IV.    LIMIT OF LIABILITY
       The limit of liability specified above as "Each Covered Investigation" is the most we will reimburse for the sum of all
       damages and legal expenses to all covered insureds resulting from any one covered investigation. The limit of
       liability specified above as "Each Policy Period" is the most we will reimburse for the sum of all damages and legal
       expenses to all covered insureds resulting from all covered investigations which are first reported during the
       policy period. The above-stated limits of liability are contained within, and not in addition to, the Limits of Liability
       stated on the Coverage Summary, applicable to the Professional Liability Coverage Part. Any payments made
       pursuant to this endorsement will erode the Limits of Liability stated on the Coverage Summary. We shall not be
       legally obligated to reimburse the policyholder for any paid damages or legal expenses for a covered
       investigation if the limit of liability applicable to the Professional Liability Coverage Part of the policy has been
       exhausted.
V.     REPORTING ENDORSEMENT PROVISIONS
       If a Reporting Endorsement is issued for a covered insured, the period for reporting covered investigations
       under this Coverage Part shall be automatically extended for the duration of the Reporting Endorsement, but only
       for the reporting of covered investigations which are otherwise covered hereunder. Termination or cancellation of
       the Reporting Endorsement shall automatically terminate the period for reporting covered investigations under
       this Coverage Part.

Covered Location                                                                Retroactive Date   Termination Date
Any Scheduled Facility contracting with the Policyholder                           11/15/2013          3/15/2024
For the provision of professional healthcare services




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                      HEALTH CARE FACILITY LIABILITY POLICY
                             REIMBURSEMENT FORM
                       GENERAL LIABILITY COVERAGE PART
SECTION I: COVERAGES
    COVERAGE A: BODILY INJURY AND PROPERTY DAMAGE LIABILITY
    1.   Insuring Agreement
    A.   During the policy period only, we will reimburse the policyholder those sums that an insured becomes fully
         and finally legally obligated to pay as damages and defense costs because of bodily injury or property
         damage which (i) occurs during the of the policy period, (ii) is caused by an occurrence, (iii) occurs within the
         coverage territory, (iv) is first reported during the policy period; and (v) is actually paid by the policyholder
         during the policy period. Our obligation to make any reimbursement is subject to (a) applicable limits of liability
         stated in the Coverage Summary; (b) any Self-Insured Retention stated in the Coverage Summary, (c) any
         Deductible stated in the Coverage Summary and (d) any condition precedent to policy benefits stated in the
         Coverage Summary.
    2.   Exclusions
         The insurance provided by COVERAGE A does not apply to:
         a.     Bodily injury or property damage expected or intended from the standpoint of an insured. This
                exclusion does not apply to bodily injury or property damage resulting from the use of reasonable force
                to protect persons or property.
         b.     Bodily injury or property damage for which an insured is obligated to pay damages by reason of the
                assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages:
                (1)   That an insured would have in the absence of the contract or agreement; or
                (2)   Assumed in a contract or agreement that is an insured contract, provided the bodily injury or
                      property damage occurs subsequent to the execution of the contract or agreement. Solely for the
                      purposes of liability assumed in an insured contract, reasonable attorney fees and necessary
                      litigation expenses incurred by or for a party other than an insured are deemed to be damages
                      because of bodily injury or property damage, provided:
                      (a)   Liability to such party for, or for the cost of, that party’s defense has also been assumed in
                            the same insured contract; and
                      (b)   Such attorney fees and litigation expenses are for defense of that party against a civil or
                            alternative dispute resolution proceeding in which damages to which this insurance applies
                            are alleged.
         c.     Any obligation of an insured under a worker's compensation, employer’s liability, disability benefits or
                unemployment compensation law or any similar law.
         d.     Bodily injury or property damage sustained by any insured whether or not such bodily injury or
                property damage arises out of the activities or operations of any other insured.
         e.     Bodily injury to:
                (1)   An employee of an insured arising out of and in the course of his or her employment or duties;
                (2)   A leased employee of an insured arising out of and in the course of his or her employment or
                      duties;
                (3)   A past, present or prospective employee or leased employee of an insured, arising from any
                      employment practices claim; or
                (4)   Any relative or member of the family or household of a past, present or prospective employee or
                      leased employee as a consequence of (1), (2) or (3) above.
                This exclusion applies:
                (1)   Whether an insured is or may be liable as an employer or in any other capacity; and
                (2)   To any obligation to share damages with or repay someone else who must pay damages because
                      of the injury.
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f.     Liability arising from the discharge of pollutants; provided that this exclusion does not apply to bodily
       injury or property damage arising out of heat, smoke or fumes from a hostile fire at a scheduled facility.
       As used in this exclusion, a hostile fire means one which becomes uncontrollable or breaks out from
       where it was intended to be.
g.     Bodily injury or property damage arising out of the ownership, maintenance, use or entrustment to
       others of any aircraft, auto or watercraft owned or operated by or rented or loaned to any insured. Use
       includes operation and loading or unloading.
       This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in
       the supervision, training or monitoring of others by that insured, if the occurrence which caused the
       bodily injury or property damage involved the ownership, maintenance, use or entrustment to others
       of any aircraft, auto or watercraft that is owned or operated by or rented or loaned to any insured.
       This exclusion does not apply to:
       (1)   Parking an auto on, or on the ways next to, scheduled facilities, provided the auto is not owned
             by or rented or loaned to any insured; or
       (2)   Bodily injury or property damage arising out of the operation of any:
             (a)    cherry picker or similar device mounted on an automobile or truck chassis and used to raise
                    or lower workers; or
             (b)    air compressor, pump or generator, including spraying, welding, building cleaning or lighting
                    equipment.
h.     Bodily injury or property damage due to war, whether or not declared, civil war, insurrection, rebellion,
       or revolution, or to any act or condition incident to any of the foregoing.
i.     Bodily injury or property damage due to the rendering of or failure to render professional health
       care services.
j.     Property damage to:
       (1)   Property owned, rented or occupied by any insured;
       (2)   Property any insured sells, gives away or abandons, if the property damage arises out of any
             part of those premises;
       (3)   Property loaned to any insured; or
       (4)   Personal property in the care, custody or control of any insured.
       This exclusion does not apply to property damage to structures or portions thereof rented to the
       policyholder, including structures permanently attached thereto, if such property damage arises from
       fire; provided that the most we will pay for property damage arising from any such fire is the amount
       shown in the Coverage Summary as the Fire Damage Limit.
k.     Bodily injury to any person while practicing for or participating in any sports or athletic contest or
       exhibition sponsored by an insured.
l.     Bodily injury or property damage for which any insured may be held liable by reason of:
       (1)   Causing or contributing to the intoxication of any person;
       (2)   The furnishing of alcoholic beverages to a person under the legal drinking age or under the
             influence of alcohol; or
       (3)   Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic
             beverages.
       This exclusion applies only if the policyholder is in the business of manufacturing, distributing, selling,
       serving or furnishing alcoholic beverages.
m.     Liability arising out of any (1) willful, wanton, fraudulent (whether intentional or unintentional), dishonest,
       criminal, reckless, malicious or oppressive act or omission; or (2) conduct which is outrageous,
       demonstrates conscious indifference to consequences, or evidences intentional, reckless or careless
       disregard for the rights or safety of others.
n.     Bodily injury or property damage arising from any defect in goods or products developed,
       manufactured, assembled, sold, handled, leased or distributed by any insured; provided that this
       exclusion does not apply to bodily injury or property damage resulting from goods (other than drugs
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            or medical supplies) sold by an insured in a gift shop, cafeteria or other concession maintained at a
            scheduled facility.
     o.     Liability arising from the operation or management by any insured of a managed care organization.
     p.     Liability for damages arising from (1) any claim which was initially asserted against an insured prior to
            the coverage effective date, (2) any claim if either such claim or the circumstances giving rise to such
            claim were reported to a previous insurer prior to the coverage effective date, (3) any occurrence that
            an insured, prior to the coverage effective date, was aware of, should have been aware of, or could
            have reasonably foreseen or discovered would give rise to a claim or suit, or (4) any claim arising out of
            or related to, or derived from the same or essentially the same facts as, any claim pending prior to the
            coverage effective date.
     q.     Bodily injury arising out of personal injury or advertising injury.
     r.     Liability for punitive or exemplary damages (including any multiple of compensatory damages, such as
            double or treble damages) awarded against an insured.
     s.     Liability for any damages or defense costs, unless the occurrence, claim or suit or demand for
            damages is reported in writing to us during the policy period, regardless of the other terms and
            conditions of the Policy.
COVERAGE B: PERSONAL INJURY AND ADVERTISING INJURY LIABILITY
1.   Insuring Agreement
     a.     During the policy period only, we will reimburse the policyholder those sums that an insured becomes
            fully and finally legally obligated to pay as damages and defense costs because of personal injury or
            advertising injury to which this insurance applies. Our obligation to make any reimbursement is subject
            to (a) applicable limits of liability stated in the Coverage Summary; (b) any Self-Insured Retention stated
            in the Coverage Summary; (c) any Deductible stated in the Coverage Summary and
            (d) any condition precedent to policy benefits stated in the Coverage Summary.
     b.     This insurance applies only to:
            (1)   Personal injury caused by an offense arising out of your business, excluding advertising,
                  publishing, broadcasting or telecasting done by or for an insured; and
            (2)   Advertising injury caused by an offense committed in the course of advertising the goods,
                  products or services of the policyholder;
            but only if the offense was not committed before the retroactive date and a claim for damages because
            of the personal injury or advertising injury is first reported during the policy period.
2.   Exclusions
     The insurance provided by COVERAGE B does not apply to:
     a.     Personal injury or advertising injury:
            (1)   Arising out of oral or written publication of material, if done by or at the direction of an insured
                  with knowledge of its falsity;
            (2)   Arising out of oral or written publication of material whose first publication took place before the
                  retroactive date;
            (3)   Arising out of the willful violation of a penal statute or ordinance committed by or with the consent
                  of an insured; or
            (4)   For which an insured has assumed liability in a contract or agreement. This exclusion does not
                  apply to liability the insured would have had in the absence of the contract or agreement.
     b.     Advertising injury arising out of:
            (1)   Breach of contract;
            (2)   The failure of goods, products or services to conform with advertised quality or performance;
            (3)   The wrong description of the price of goods, products or services; or
            (4)   An offense committed by an insured whose business is advertising, broadcasting, publishing or
                  telecasting.
     c.     Personal injury or advertising injury sustained by any insured whether or not such personal injury
            or advertising injury arises out of the activities or operations of any other insured.
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          d.     Personal injury to:
                 (1)  An employee or volunteer of an insured arising out of and in the course of employment or duties
                      by such insured;
                 (2)   A leased employee of an insured arising out of and in the course of employment or duties by
                       such insured;
                 (3)   A past, present or prospective employee, volunteer or leased employee of an insured, arising
                       from any employment practices claim; or
                 (4)   Any relative or member of the family or household of a past, present or prospective employee,
                       volunteer or leased employee as a consequence of (1), (2) or (3) above.
                 This exclusion applies:
                 (1)   Whether an insured is or may be liable as an employer or in any other capacity; and
                 (2)   To any obligation to share damages with or repay someone else who must pay damages because
                       of the injury.
          e.     Personal injury or advertising injury due to the rendering of or failure to render professional health
                 care services.
          f.     Liability arising out of any (1) willful, wanton, fraudulent (whether intentional or unintentional), dishonest,
                 criminal, reckless, malicious or oppressive act or omission; or (2) conduct which is outrageous,
                 demonstrates conscious indifference to consequences, or evidences intentional, reckless or careless
                 disregard for the rights or safety of others.
          g.     Liability arising from the discharge of pollutants.
          h.     Liability for damages arising from (1) any claim which was initially asserted against an insured prior to
                 the coverage effective date, (2) any claim if either such claim or the circumstances giving rise to such
                 claim were reported to a previous insurer prior to the coverage effective date, (3) any offense that an
                 insured, prior to the coverage effective date, was aware of, should have been aware of, or could have
                 reasonably foreseen or discovered would give rise to a claim or suit, or (4) any claim arising out of or
                 related to, or derived from the same or essentially the same facts as, any claim pending prior to the
                 coverage effective date.
          i.     Liability arising from the operation or management by any insured of a managed care organization.
          j.     Liability for punitive or exemplary damages (including any multiple of compensatory damages, such as
                 double or treble damages) awarded against an insured.
          k.     Liability for any damages or defense costs, unless the personal injury, advertising injury, claim or
                 suit or demand for damages is reported in writing to us during the policy period, regardless of the other
                 terms and conditions of the Policy.
SECTION I: WHO IS AN INSURED
    Each of the following is an insured under this Coverage Part to the extent set forth below:
    1.    The policyholder and any other insured;
    2.    If the policyholder is a partnership, any partner thereof, but only with respect to that partner's liability as such;
    3.    If the policyholder is an entity other than a partnership, any executive officer, administrator, stockholder,
          member of the board of directors, trustees or governors of the policyholder, member or manager while acting
          within the scope of that person's duties as such;
    4.    Any covered subsidiary;
    5.    Employees, other than executive officers, but only for acts within the scope of their employment by the
          policyholder or a covered subsidiary;
    6.    Leased employees; provided, that leased employees are not insureds if covered by a policy of insurance
          provided by the labor leasing firm under which their services are provided;
    7.    Volunteer workers for the policyholder or a covered subsidiary, but only while acting at the direction of the
          policyholder or such covered subsidiary, and within the scope of their duties;
    8.    Persons enrolled as students, other than physicians, surgeons and dentists in training, enrolled in formal
          training programs offered by the policyholder, but only in connection with their performance of, or failure to
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     perform, duties relating to the training programs in which they are enrolled; and
9.   Any person (other than an employee) or any organization while acting as a real estate manager for the
     policyholder.




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                    HEALTH CARE FACILITY LIABILITY POLICY
                           REIMBURSEMENT FORM
                   GENERAL AGGREGATE LIMIT ENDORSEMENT

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


The policy is hereby amended as follows:

Notwithstanding any other provision of the policy, and irrespective of the Limits of Liability depicted on the Coverage
Summary for each insured, the cumulative total amount we will reimburse the policyholder on behalf of all insureds in
combination for all professional incidents and occurrences that are reported during the policy period shall not exceed
Six Million Dollars ($6,000,000).




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                    HEALTH CARE FACILITY LIABILITY POLICY
                           REIMBURSEMENT FORM
                   PROFESSIONAL LIABILITY COVERAGE PART

SECTION I: COVERAGE
    COVERAGE C: HEALTH CARE FACILITY PROFESSIONAL LIABILITY COVERAGE
    1.   INSURING AGREEMENT
         During the policy period only, we will reimburse the policyholder those sums that an insured becomes fully
         and finally legally obligated to pay as damages and defense costs because of any professional incident
         which (i) occurs on or after the retroactive date and before the end of the policy period, (ii) occurs within
         the coverage territory, (iii) is first reported during the policy period; and (iv) are actually paid by the
         policyholder during the policy period. Our obligation to make any reimbursement is subject to (a) applicable
         Limits of Liability stated in the Coverage Summary;
         (b) any Self-Insured Retention stated in the Coverage Summary; (c) any Deductible stated in the Coverage
         Summary; and (d) any Conditions Precedent to Policy Benefits stated in the Coverage Summary.
         This insurance applies to professional incidents arising out of professional services rendered within the
         United States of America, its possessions and territories, provided that any resulting claim or suit is prosecuted
         within the United States of America, its possessions or territories. This insurance does not apply to any claim
         or suit asserted, filed, pursued, or prosecuted in or pursuant to the authority of any court, tribunal, or other
         governmental or legal authority outside the jurisdiction of the United States of America, its possessions and
         territories.


    2.   Exclusions
         The insurance provided by COVERAGE C does not apply to:
         a.     Liability assumed by any insured under any contract or agreement, whether oral, written or implied,
                except that this exclusion does not apply to any liability the insured would have had in the absence of
                the contract or agreement.
         b.     Liability arising out of any (1) willful, wanton, fraudulent (whether intentional or unintentional), dishonest,
                criminal, reckless, malicious or oppressive act or omission; or (2) conduct which is outrageous,
                demonstrates conscious indifference to consequences, or evidences intentional, reckless or careless
                disregard for the rights of others.
         c.     Injury to any past, present or prospective employee, volunteer worker, leased employee, medical staff
                member, partner, director, officer, trustee or member of the policyholder or covered subsidiary unless
                arising from the treatment of any such person as a patient of the policyholder or covered subsidiary.
         d.     Any obligation for which an insured or any carrier acting as insurer may be held liable under any worker's
                compensation, unemployment compensation, disability benefits, or any similar law.
         e.     Injury arising out of the ownership, maintenance, operation, use, loading or unloading of any auto,
                watercraft or aircraft; provided, that this exclusion does not apply to injury arising out of the loading or
                unloading of patients from an ambulance or air ambulance. This exclusion applies even if the claims
                against any insured allege negligence or other wrongdoing in the supervision, training or monitoring of
                others by that insured, if the occurrence which caused the bodily injury or property damage involved
                the ownership, maintenance, use or entrustment to others of any aircraft, auto or watercraft that is owned
                or operated by or rented or loaned to any insured.
         f.     Liability arising out of any act or omission of an insured (1) for which such insured does not hold any
                required license to perform, (2) which occurs during any time such insured's license to practice his or
                her profession has been suspended, revoked or voluntarily surrendered or (3) which constitutes a
                violation of any restriction imposed upon such license.
         g.     Liability arising out of any antitrust violation (except for liability arising from service by an insured as a
                member of a formal accreditation, standards review or similar quality control professional board or
                committee of the policyholder, or actions taken at the direction of such a board or committee, for which

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            coverage is otherwise afforded), unfair competition, discrimination, or any other act or omission which
            violates any statute, ordinance or regulation imposing any fine, penalty or other sanction, including but
            not limited to attorneys’ fees.
     h.     Damages because of injury arising from the discharge of pollutants.
     i.     Liability for damages arising from (1) any claim which was initially asserted against an insured prior to
            the coverage effective date, (2) any claim if either such claim or the circumstances giving rise to such
            claim were reported to a previous insurer prior to the coverage effective date, (3) any professional
            incident that an insured, prior to the coverage effective date, was aware of, should have been aware
            of, or could have reasonably foreseen or discovered would give rise to a claim or suit, or (4) any claim
            arising out of or related to, or derived from the same or essentially the same facts as, any claim pending
            prior to the coverage effective date.
     j.     Liability arising from the operation or management by any insured of a managed care organization.
     k.     Liability for punitive or exemplary damages (including any multiple of compensatory damages, such as
            double or treble damages) awarded against an insured.
COVERAGE D: INSURANCE CLAIM ERRORS AND OMISSIONS LIABILITY COVERAGE
1.   Insuring Agreement
     During the policy period only, we will reimburse the policyholder those sums that an insured becomes fully
     and finally legally obligated to pay as damages and defense costs because of any claims made against such
     insured by any employee, former employee or beneficiary of such employee or former employee arising out
     of an insurance claim error or omission which (i) occurs on or after the retroactive date and before the end
     of the policy period, (ii) occurs within the coverage territory and (iii) are actually paid by the policyholder during
     the policy period. Our obligation to make any reimbursement is subject to (a) applicable Limits of Liability
     stated in the Coverage Summary; (b) any Self-Insured Retention stated in the Coverage Summary;
     (c) any Deductible stated in the Coverage Summary; and (d) any Conditions Precedent to Policy Benefits
     stated in the Coverage Summary.
     This insurance applies to claims arising out of insurance claims errors or omissions rendered within the
     United States of America, its possessions and territories, provided that any resulting claim or suit is prosecuted
     within the United States of America, its possessions or territories. This insurance does not apply to any claim
     or suit asserted, filed, pursued, or prosecuted in or pursuant to the authority of any court, tribunal, or other
     governmental or legal authority outside the jurisdiction of the United States of America, its possessions and
     territories.


2.   Exclusions
     The insurance provided by COVERAGE D does not apply to:
     a.     Bodily injury, property damage, advertising injury or personal injury.
     b.     Liability assumed by any insured under any contract or agreement, whether oral, written or implied,
            except that this exclusion does not apply to any liability that would be imposed on the insured by law in
            the absence of the contract or agreement.
     c.     Any obligation of an insured under a worker's compensation, employer’s liability, disability benefits or
            unemployment compensation law or any similar law.
     d.     Damages sustained by any insured, whether or not such damages arise out of the activities or
            operations of any other insured.
     e.     Damages sustained by any employee, volunteer or leased employee of an insured or any past,
            present or prospective employee, volunteer or leased employee of an insured.
     f.     Damages arising from the discharge of pollutants.
     g.     Damages due to the rendering of or failure to render professional health care services.
     h.     Liability for damages arising from (1) any claim which was initially asserted against an insured prior to
            the coverage effective date, (2) any claim if either such claim or the circumstances giving rise to such
            claim were reported to a previous insurer prior to the coverage effective date, (3) any insurance claim
            error or omission that an insured, prior to the coverage effective date, was aware of, should have
            been aware of, or could have reasonably foreseen or discovered would give rise to a claim or suit,

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            or (4) any claim arising out of or related to, or derived from the same or essentially the same facts as,
            any claim pending prior to the coverage effective date.
     i.     Liability arising out of any (1) willful, wanton, fraudulent (whether intentional or unintentional), dishonest,
            criminal, reckless, malicious or oppressive act or omission; or (2) conduct which is outrageous,
            demonstrates conscious indifference to consequences, or evidences intentional, reckless or careless
            disregard for the rights or safety of others.
     j.     Liability arising out of the ownership, maintenance, use or entrustment to others of any aircraft, auto or
            watercraft owned or operated by or rented or loaned to any insured. Use includes operation and loading
            and unloading. This exclusion applies even if the claims against any insured allege negligence or other
            wrongdoing in the supervision, training or monitoring of others by that insured, if the occurrence which
            caused the bodily injury or property damage involved the ownership, maintenance, use or entrustment
            to others of any aircraft, auto or watercraft that is owned or operated by or rented or loaned to any
            insured.
     k.     Damages arising out of any benefit error.
     l.     Liability arising from unauthorized access to or use of the insured's electronic data processing system.
     m.     Liability resulting from an insured's insolvency, receivership, bankruptcy, liquidation or financial inability
            or other inability to pay or perform its obligations or conduct its business.
     n.     Liability arising from any violation of or alleged violation of any federal, state or local law, statute,
            ordinance, rule or regulation, including, without limitation, the Racketeer Influenced and Corrupt
            Organizations Act, 18 U.S.C. Sections 1961 et seq., and any amendments thereto; the Employee
            Retirement Income Security Act of 1974, Public Law 93-406, commonly referred to as the Pension
            Reform Act of 1974, and amendments thereto; and Medicare and Medicaid laws (including anti-fraud and
            abuse amendments to the Social Security Act).
     o.     Liability arising from the operation or management by any insured of a managed care organization.
COVERAGE E: EMPLOYEE BENEFIT PROGRAMS LIABILITY COVERAGE
1.   Insuring Agreement
     During the policy period only, we will reimburse those sums that an insured becomes fully and finally legally
     obligated to pay as damages and defense costs because of any claims made against such insured by any
     employee, former employee or beneficiary of such employee or former employee, arising out of any benefit
     error that (i) occurs after the retroactive date and before the end of the policy period, (ii) occurs within the
     coverage territory and (iii) are actually paid by the policyholder during the policy period. Our obligation to make
     any reimbursement is subject to (a) applicable Limits of Liability stated in the Coverage Summary; (b) any Self-
     Insured Retention stated in the Coverage Summary; (c) any Deductible stated in the Coverage Summary; and
     (d) any Conditions Precedent to Policy Benefits stated in the Coverage Summary.
     This insurance applies to claims arising out of benefit errors rendered within the United States of America, its
     possessions and territories, provided that any resulting claim or suit is prosecuted within the United States of
     America, its possessions or territories. This insurance does not apply to any claim or suit asserted, filed,
     pursued, or prosecuted in or pursuant to the authority of any court, tribunal, or other governmental or legal
     authority outside the jurisdiction of the United States of America, its possessions and territories.


2.   Exclusions
     The insurance provided by COVERAGE E does not apply to:
     a.     Bodily injury, property damage, advertising injury or personal injury.
     b.     Any claim against an insured if there is a final legal determination that such insured knowingly did
            something dishonest or intentionally or recklessly violated any law (provided, however, that this exclusion
            does not apply to any other insured where there is no legal finding that such other insured actively
            joined in doing the dishonest act or intentionally or recklessly violated any law).
     c.     Any claim based upon the insured's failure to comply with any law concerning workers' compensation,
            employer’s liability, unemployment insurance, social security or disability benefits.
     d.     Any claim based upon:
            (1)   failure of any investment program, individual securities or savings program to perform as
                  represented by an insured; or
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                 (2)   advice given by an insured in connection with participation or non-participation in stock
                       subscription plans or savings programs.
          e.     Any claim arising out of the failure of the insured or any insurer, fiduciary, trustee or fiscal agent to
                 perform any of their duties or obligations or to fulfill any of their guarantees with respect to:
                 (1)   the payment of benefits under employee benefit programs; or
                 (2)   the providing, handling or investing of funds.
          f.     Any claim assumed by an insured under a contract or agreement.
          g.     Any claim resulting from personal profit or advantage gained by an insured without the legal right to the
                 gain.
          h.     Any claim for the return of compensation paid to an insured if a court determines that the payment was
                 illegal.
          i.     Liability of any insured for taxes, fines or penalties imposed by law.
          j.     Any claim for benefits that are lawfully paid or payable to a beneficiary from the funds of an employee
                 benefit program.
          k.     Any claim that results from failure to maintain adequate insurance or bonds.
          l.     Liability for damages arising from (1) any claim which was initially asserted against an insured prior to
                 the coverage effective date, (2) any claim if either such claim or the circumstances giving rise to such
                 claim were reported to a previous insurer prior to the coverage effective date, (3) any benefit error that
                 an insured, prior to the coverage effective date, was aware of, should have been aware of, or could
                 have reasonably foreseen or discovered would give rise to a claim or suit, or (4) any claim arising out of
                 or related to, or derived from the same or essentially the same facts as, any claim pending prior to the
                 coverage effective date.
          m.     Liability arising out of any (1) willful, wanton, fraudulent (whether intentional or unintentional), dishonest,
                 criminal, reckless, malicious or oppressive act or omission; or (2) conduct which is outrageous,
                 demonstrates conscious indifference to consequences, or evidences intentional, reckless or careless
                 disregard for the rights or safety of others.
          n.     Liability arising from unauthorized access to or use of the insured's electronic data processing system.
          o.     Liability resulting from an insured's insolvency, receivership, bankruptcy, liquidation or financial inability
                 or other inability to pay or perform its obligations with respect to any employee benefit program.
          p.     Liability arising from any violation of or alleged violation of any federal, state or local law, statute,
                 ordinance, rule or regulation, including, without limitation, the Racketeer Influenced and Corrupt
                 Organizations Act, 18 U.S.C. Sections 1961 et seq., and any amendments thereto; the Employee
                 Retirement Income Security Act of 1974, Public Law 93-406, commonly referred to as the Pension
                 Reform Act of 1974, and amendments thereto; and Medicare and Medicaid laws (including anti-fraud and
                 abuse amendments to the Social Security Act).
          q.     Liability assumed by an insured as an insurer or reinsurer.


SECTION II: WHO IS AN INSURED
    Each of the following is an insured under this Coverage Part to the extent set forth below:
    1.    The policyholder and any other insured;
    2.    If the policyholder is a partnership, any partner thereof, but only with respect to that partner's liability as such;
    3.    If the policyholder is an entity other than a partnership, any executive officer, administrator, stockholder,
          member of the board of directors, trustees or governors of the policyholder, member or manager while acting
          within the scope of that person's duties as such;
    4.    Any covered subsidiary;
    5.    All professional and non-professional employees including any independent contractors who otherwise provide
          professional healthcare services on behalf of or at the direction of the policyholder (other than physicians,
          surgeons, dentists, interns, externs, residents, physician assistants, nurse midwives, CRNAs, nurse
          practitioners, and perfusionists) while acting within the scope of their duties for an insured;


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6.   All volunteer workers (other than physicians, surgeons, dentists, interns, externs, residents, physician
     assistants, nurse midwives, CRNAs, nurse practitioners, and perfusionists) doing volunteer work for an insured
     while acting within the scope of their duties for such insured;
7.   Members of the medical staff of the policyholder, while acting within the scope of their duties as members of
     credentialing, utilization review, quality assurance, professional standards review or similar professional boards
     or committees of the policyholder, or acting at the express written direction of any such board or committee;
     provided, however, that the insurance provided to such members of the medical staff shall be excess of any
     other valid and collectible insurance which may apply;
8.   Administrators, superintendents, chief executive officers, medical directors, and department heads (including
     the head of the medical staff), while acting within such capacities and within the scope of their administrative
     duties for the policyholder; and
9.   Persons enrolled as students, other than physicians, surgeons and dentists in training, enrolled in formal
     training programs offered by the policyholder, but only in connection with their performance of, or failure to
     perform, duties relating to the training programs in which they are enrolled.




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                                              Reimbursement Form
                                        Professional Liability Coverage Part
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                  HEALTH CARE PROFESSIONAL LIABILITY POLICY
                           REIMBURSEMENT FORM
                         AMENDATORY ENDORSEMENT
 POLICYHOLDER: CCS-CMGC Parent Holdings, LP
 ENDORSEMENT EFFECTIVE DATE: 15th March 2023
 POLICY NUMBER: BUQSTRTTN011300_050001_03


 The policy is hereby amended as follows:


 POLICYHOLDER RESPONSIBLE FOR ALL SERVICING AND CLAIMS HANDLING

 The policyholder agrees to indemnify us and hold us harmless against any and all claims, liabilities, judgments, costs,
 and reasonable attorney fees for any and all acts or omissions of the policyholder in all servicing aspects of this policy,
 including but not limited to the following responsibilities:
      a) Underwriting;
      b) Claims;
      c) Certificates of Insurance;
      d) Regulatory Filings; and
      e) Credentialing.


The policyholder agrees to an additional premium of      for each covered investigation, professional incident or
occurrence that becomes reported during the policy period.




                                               Health Care Professional Liability Policy                            Page 1 of 1
                                                       Reimbursement Form
                                                      Amendatory Endorsement
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                        HEALTH CARE FACILITY LIABILITY POLICY
                               REIMBURSEMENT FORM
                             AMENDATORY ENDORSMENT


POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03



THIS ENDORSEMENT MODIFIES THE GENERAL LIABILITY COVERAGE PART OF THE POLICY AS FOLLOWS:

The definition of occurrence as shown in the Definitions Part of the policy is hereby deleted and replaced with the
following:

Occurrence means:
      1.    With respect to bodily injury and property damage, an accident, including continuous or repeated exposure
            to substantially the same general harmful conditions, that takes place at or from a scheduled facility;
      2.    Any activity by an insured that results in personal injury or advertising injury; or
      3.    Any one or more of the following perils when involving patient(s) at a scheduled facility:
            a.   Fire;
            b.   Lightning;
            c.   Explosion;
            d.   Heat, smoke, or fumes;
            e.   Structural collapse of the building;
            f.   Elevator malfunction;
            g.   Windstorm or hail;
            h.   Riot or strike;
            i.   Aircrafts or vehicles;
            j.   Earthquake or flood; or
            k.   Sprinkler maintenance.


All other terms and conditions of the policy remain unchanged.




                                               Health Care Professional Liability Policy                         Page 1 of 1
                                                       Reimbursement Form
                                                     Amendatory Endorsement
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                        HEALTH CARE FACILITY LIABILITY POLICY
                               REIMBURSEMENT FORM
                             AMENDATORY ENDORSMENT


POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03



THIS ENDORSEMENT MODIFIES THE GENERAL LIABILITY COVERAGE PART OF THE POLICYAS FOLLOWS:

The following definition is hereby added to the Definitions Part.

Pollution incident means the application of herbicides and pesticides to the green house at Columbia Regional Medical
Center by the manager of the Horticulture Program, provided that such application of herbicides and pesticides meets all
applicable standards mandated by any federal, state, or local government or regulatory authority.

Notwithstanding any other provision of the policy, Exclusion f of COVERAGE A: BODILY INJURY AND PROPERTY
DAMAGE LIABILITY shall not apply to any pollution incident first alleged during the policy period. The limit of liability
specified below as “Each Pollution Incident Limit,” is the most we will reimburse for the sum of all damages and defense
costs paid by the policyholder during the policy period resulting from any one pollution incident. The limit of liability
specified below as “All Pollution Incidents Limit,” is the most we will reimburse for the sum of all damages and defense
costs paid by the policyholder during the policy period resulting from all pollution incidents.


    1. Each Pollution Incident Limit:      $ 50,000
    2. All Pollution Incidents Limit:      $100,000

The above-stated limits of liability are contained within, and not in addition to, the Limits of Liability stated on the Coverage
Summary. Any reimbursements made pursuant to this endorsement will erode the Limits of Liability stated on the
Coverage Summary.




                                               Health Care Professional Liability Policy                              Page 1 of 1
                                                       Reimbursement Form
                                                     Amendatory Endorsement
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                        HEALTH CARE FACILITY LIABILITY POLICY
                               REIMBURSEMENT FORM
                             AMENDATORY ENDORSMENT


POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03



THIS ENDORSEMENT MODIFIES THE GENERAL LIABILITY COVERAGE PART OF THE POLICY AS FOLLOWS:

The above-numbered policy is hereby modified as follows:

Paragraph n of Section 2, Exclusions of the General Liability Coverage Part is deleted in its entirety.




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                                                      Reimbursement Form
                                                    Amendatory Endorsement
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                       HEALTH CARE FACILITY LIABILITY POLICY
                              REIMBURSEMENT FORM

                          CROSS POLICY LIABILITY EXCLUSION

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


In consideration of the premium at which the policy has been written, the policy will neither defend nor pay damages on
behalf of an insured because of any professional incident or occurrence for which any insurance coverage is available
to the insured on any policy of insurance, other than this policy, written by any direct or indirect subsidiary of Texas
Insurance Company.




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                                                    Reimbursement Form
                                               Cross Policy Liability Exclusion
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             HEALTH CARE FACILITY LIABILITY POLICY
                    REIMBURSEMENT FORM
     CONDITION PRECEDENT TO POLICY BENEFITS ENDORSEMENT

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03

The policy is hereby modified as follows:

Notwithstanding any other provision of the policy, as a condition precedent to our obligation to pay any part of the coverage
limit, the insured must first make documented payment of losses and expenses totaling Six Million Dollars ($6,000,000)
that would otherwise be covered by the policy, and our aggregate limit of liability will be reduced by that amount.




                                                 Health Care Facility Liability Policy                             Page 1 of 1
                                                       Reimbursement Form
                                        Condition Precedent to Policy Benefits Endorsement
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                   HEALTH CARE FACILITY LIABILITY POLICY
                          REIMBURSEMENT FORM
                     NON-REINSTATING LIMIT OF LIABILITY
                PER PROFESSIONAL INCIDENT OR OCCURRENCE

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03




The policy is hereby amended as follows:

The limit of liability applicable to a professional incident or occurrence at the time such professional incident or
occurrence is reported is reduced by all amounts paid, in any concurrent or previous policy period, by us or the
policyholder for all defense costs, whenever incurred, and all damages, whenever paid.

Damages means all amounts of money which are reimbursable under this policy because of any professional incident,
injury, or property damage, as well as any and all pre-judgement interest, post-judgement interest, poundage, bond
premiums in the event of the need to post bonds under any circumstance, including appellate bonds, and any other costs
associated with damages paid on behalf of an insured or the policyholder.




                                             Health Care Professional Liability Policy                           Page 1 of 1
                                                      Reimbursement Form
                                                 Non-Reinstating Limit of Liability
                                             Per Professional Incident or Occurrence
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            HEALTH CARE FACILITY LIABILITY POLICY
                   REIMBURSEMENT FORM
     COLLATERAL RELATED REDUCTION IN LIMITS ENDORSEMENT

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03

The policy is hereby modified as follows:

Notwithstanding any other provision of the policy, as a condition precedent to our obligation to pay any part of the coverage
limit for a professional incident, occurrence, or other event triggering coverage, the policyholder must (1) provide
collateral to us totaling the amount of the General Aggregate Limit shown on the Coverage Summary; and (2) provide
documentation acceptable to us showing that the policyholder has replenished any amount of collateral eroded by prior
payments. Additionally, if the policyholder fails to replenish the amount of the collateral to an amount equal to the General
Aggregate Limit shown on the Coverage Summary within ten (10) days of reporting a covered professional incident,
occurrence, or other event triggering coverage to us, then the General Aggregate Limit of Liability for the policy shall be
reduced to the amount of the collateral then held in trust for our benefit.




                                                  Health Care Facility Liability Policy                            Page 1 of 1
                                                        Reimbursement Form
                                         Collateral Related Reduction In Limits Endorsement
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                 HEALTH CARE PROFESSIONAL LIABILITY POLICY
                          REIMBURSEMENT FORM
                           INCIDENT REPORTING

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


Definitions Part of the policy is hereby amended as follows:

Report, reported, and reporting mean the receipt by our Claims Department, from an insured or its representative, of
written notice of a claim or suit which has been made or filed, or which an insured reasonably expects to be made or filed,
under any Coverage Part providing coverage on a claims-made basis, specifying (1) the date, time, and place of the
medical incident, occurrence, benefit error, injury, or medical payment to which this insurance applies, (2) a
description of the professional incident, occurrence, benefit error, injury, or medical payment to which this insurance
applies, (3) the name, address, and age of the patient or claimant, (4) the names of witnesses, including treating
physicians, and (5) the circumstances resulting in the professional incident, occurrence, benefit error, injury, or
medical payment to which this insurance applies. If we have designated a form for the reporting of claims or suits, the
report must be made by means of such form, which must be fully completed and signed as provided therein. Disclosure
of incidents by an insured as a part of engineering or loss control services or claims audits made in connection with self-
insured retention programs shall not be considered the reporting of a claim or suit.




                                             Health Care Professional Liability Policy                            Page 1 of 2
                                                     Reimbursement Form
                                                       Incident Reporting
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                      HEALTH CARE FACILITY LIABILITY POLICY
                             REIMBURSEMENT FORM
                       BROAD FORM INSURED ENDORSEMENT

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


THIS ENDORSEMENT MODIFIES THE PROFESSIONAL LIABILITY COVERAGE PART OF THE POLICY


The above-numbered policy is hereby modified as follows:
SECTION II (WHO IS AN INSURED) of the Professional Liability Coverage Part is hereby amended to add the following at
the end thereof:
     10.   With respect to COVERAGE C only, all employed, contracted, or volunteer physicians, surgeons, dentists,
           interns, externs, residents, physician assistants, nurse midwives, CRNAs, nurse practitioners, and
           perfusionists while providing professional healthcare services on behalf of or at the direction of the
           policyholder and while acting within the scope of their duties as employees, contractors, or volunteers.




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                                                   Reimbursement Form
                                             Broad Form Insured Endorsement
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             HEALTH CARE FACILITY LIABILITY POLICY
                    REIMBURSEMENT FORM
   LIMITED COMPANY AUTHORIZED AMENDATORY ENDORSEMENT



POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


THIS ENDORSEMENT IS CONSIDERED A PART OF THE POLICY AND MODIFIES THE GENERAL LIABILITY
COVERAGE PART OF THE POLICY AS FOLLOWS:

   Additional Insured
   Each entity shown in the Schedule below is included as an additional insured under the above-described Coverage
   Part(s) of the policy, but only with respect to vicarious liability arising solely and entirely out of the operations of the
   policyholder.




SCHEDULE OF ADDITIONAL INSUREDS:
CCS-CMGC Intermediate Holdings, Inc.
CCS-CMGC Holdings, Inc.




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                                                        Reimbursement Form
                                        Limited Company Authorized Amendatory Endorsement
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                        HEALTH CARE FACILITY LIABILITY POLICY
                               REIMBURSEMENT FORM

           ADDITIONAL INSURED – PRIMARY NON-CONTRIBUTORY
                           ENDORSEMENT
POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


THIS ENDORSEMENT MODIFIES THE GENERAL LIABILITY COVERAGE PART AND THE PROFESSIONAL LIABILITY
COVERAGE PART OF THE POLICY AS FOLLOWS:

    The following are included as an additional insured(s) under the above-described Coverage Part(s) of the policy, but
    only with respect to vicarious liability arising solely and entirely out of the operations of the policyholder. The coverage
    provided by this policy shall be primary and non-contributory, provided that the alleged acts or omissions giving rise to
    the liability are otherwise covered by the policy.


SCHEDULE OF ADDITIONAL INSUREDS:
Any organization to whom the policyholder is obligated by valid written contract.




                                                   Health Care Facility Liability Policy                              Page 1 of 1
                                                         Reimbursement Form
                                      Additional Insured – Primary Non-Contributory Endorsement
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                   HEALTH CARE FACILITY LIABILITY POLICY
                          REIMBURSEMENT FORM
                 BLANKET ADDITIONAL INSURED ENDORSEMENT
POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


THIS ENDORSEMENT MODIFIES THE GENERAL LIABILITY COVERAGE PART AND THE PROFESSIONAL LIABILITY
COVERAGE PART OF THE POLICY TO ADD ONE OR MORE ADDITIONAL INSUREDS.


The above-numbered policy is hereby modified as follows:
Each of the following is included as an additional insured under the above-described Coverage Part(s) of the policy, but
only with respect to the vicarious liability arising solely and entirely out of the operations of the policyholder:



ADDITIONAL INSUREDS

All persons or organizations required by valid written contract with the policyholder to be named as additional insureds.




                                               Health Care Facility Liability Policy                             Page 1 of 1


                                                      Reimbursement Form
                                             Blanket Additional Insured Endorsement
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                      WAIVER OF SUBROGATION ENDORSEMENT

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


THIS ENDORSEMENT MODIFIES THE GENERAL CONDITIONS OF THE POLICY AS FOLLOWS:


    Section VII. SUBROGATION of the GENERAL CONDITIONS is amended by adding the following:
    We waive any right of recovery we may have against the additional insured(s) shown in the Schedule below because
    of reimbursements we make under this policy for vicarious liability arising solely and entirely from the operations of
    the policyholder.




SCHEDULE OF ADDITIONAL INSURED(S)
Any organization to whom the policyholder is obligated by valid written contract.




                                         Health Care Facility Liability Policy                                Page 1 of 1
                                                 Reimbursement Form
                                         Waiver of Subrogation Endorsement
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         COMMUNICABLE DISEASE EXCLUSION ENDORSEMENT
POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


THIS ENDORSEMENT MODIFIES THE GENERAL EXCLUSIONS OF THE POLICY AS FOLLOWS:

    GENERAL EXCLUSIONS is amended to include the following exclusion:


    Communicable Disease, Epidemic and Pandemic

          arising out of, based upon, in connection with, resulting from, contributed to by or attributable to, directly or
          indirectly, in whole or in part, any actual, alleged or suspected:

                    1. Communicable Disease; or
                    2. Epidemic or Pandemic.


    For the purposes of this endorsement the following definitions are added:

    Epidemic means a widespread occurrence of a Communicable Disease which affects a disproportionately large
    number of individuals constituting an increase in the number of cases of such Communicable Disease above what is
    normally expected within a population, community or region over a particular period of time.

    Pandemic means an Epidemic, which the World Health Organization has declared to be, or assessed or
    characterized as a pandemic in any public statement.

    Communicable Disease means an illness or disease caused by the infection, presence and growth of pathogenic
    biologic agents in an individual human or other animal host, including but not limited to any bacteria, virus, mold, mildew,
    fungi, parasite or other vector and which biologic agents or its toxins are directly or indirectly transmitted to infected
    individuals by physical contact with an infectious person, consuming contaminated foods or beverages, contact with
    contaminated body fluids, contact with contaminated inanimate objects, inhalation, being bitten by an infected animal,
    insect or tick, or other means.. Communicable Disease includes coronavirus disease 2019 (COVID-19) or any other
    disease caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV 2) (previously known as 2019-nCoV),
    or any disease caused by any mutation or variation of SARS-CoV 2.




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                                                Reimbursement Form
                                       Communicable Disease Exclusion Endorsement
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          SANCTION LIMITATION AND EXCLUSION CLAUSE

POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03




    No (re)insurer shall be deemed to provide cover and no (re)insurer shall be liable to pay any claim or provide any
    benefit hereunder to the extent that the provision of such cover, payment of such claim or provision of such benefit
    would expose that (re)insurer to any sanction, prohibition or restriction under United Nations resolutions or the trade or
    economic sanctions, laws or regulations of the European Union, United Kingdom or United States of America.




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                                                Reimbursement Form
                                       Sanction Limitation and Exclusion Endorsement
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      CONFIDENTIAL OR PERSONAL INFORMATION DISCLOSURE
                        ENDORSEMENT
POLICYHOLDER: CCS-CMGC Parent Holdings, LP
ENDORSEMENT EFFECTIVE DATE: 15th March 2023
POLICY NUMBER: BUQSTRTTN011300_050001_03


     This policy does not apply to “bodily injury”, "property damage", "personal and advertising injury", or any
     other loss, cost, defense fee, expense, injury, damage, claim, dispute or "suit", however caused, in
     whole or in part arising out of, resulting from, or in any way related to any actual or alleged:

     a. unauthorized or improper access to, collection, use or disclosure of, or failure to protect any non-public
        confidential or personal information in the form of "electronic data", including, but not limited to, any
        patents, trade secrets, processing methods, customer lists, financial information, credit card information,
        health information, or any other type of non-public information;
     b. violation of any statute, regulation, common-law, or any other law regulating or protecting access
        to, collection, use or disclosure of, or failure to protect any non-public confidential or personal
        information in the form of "electronic data".
     For purposes of this endorsement, "electronic data" includes, but is not limited to, information, facts or
     programs stored as or on, created or used on, or transmitted to or from computer software, including
     systems and applications software, hard or floppy disks, CD-ROMS, tapes, drives, cells, data processing
     devices or any other media which are used with electronically controlled equipment.


     This exclusion applies to, among other things, damages or amounts associated with any notification costs,
     credit monitoring expenses, forensic expenses, public relations expenses, or any other loss, cost or
     expense, whether incurred by you or others, arising out of any access to, collection, use or disclosure of,
     or failure to protect any non-public confidential or personal information that is subject to this exclusion.
     This exclusion does not apply, however, to:

         a. “Direct bodily injury”, which, for purposes of this endorsement only means: bodily injury, sickness
             or disease sustained by a person, including death, mental anguish, mental injury, shock or
             humiliation resulting from any of these at any time; or

         b. “Direct property damage”, which, for purposes of this endorsement only means: physical injury to
             tangible property, including all resulting loss of use of that property. All such loss of use shall be
             deemed to occur at the time of the physical injury that caused it.


     Tangible property does not include any information, facts, programs, instructions, commands, electronic
     data, and anything else stored as or on, created or used on, or transmitted to or from computers or their
     software, including, but not limited to, systems and applications software, hard or floppy disks, CD-ROMs,
     tapes, drives, cells, data processing devices, networks, clouds, or other media used with electronically
     controlled equipment.




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                                                     Reimbursement Form
                                         Confidential or Personal Information Disclosure
                                                     Exclusion Endorsement
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                                                               Exhibit "C"




                                                     AFFIDAVIT            OF JAMES               SEITZ




STATE         OF TENNESSE                        )


COUNTY             OF DAVIDSON                   )


             BEFORE           ME,    the undersigned             authority,     on this day personally              appeared       JAMES        SEITZ,


who being          by me duly         sworn,      deposed        and stated as follows:



             1.           My name is James Seitz.                  I am over twenty-one                (21) years of age, have never been


convicted          of a felony        or crime         involving      moral      turpitude,         and am fully          qualified      to make      this


Affidavit.         I have     personal        knowledge          of all the facts recited              here,    and those        facts    are true    and


correct,



             2.           I am employed              by Wellpath,       LLC      as the Director          of hisurance         with      knowledge       of


insurance          coverage       pertaining         to Wellpath        Recovery          Solutions,      LLC      and 901 45th            Street    West


Palm        Beach     Behavioral         Health         Hospital      Company,            LLC.      I have      knowledge         of the     insurance


coverage          information        pertaining        to the possible         claims       asserted     by Gracienne          Myers       against    901


45th Street West Palm                 Beach      Behavioral         Health     Hospital       Company,          LLC       and Wellpath       Recovery


Solutions,         LLC.



             3.           The following          are the insurance            policies,     which       are applicable        to this claim:



             a.           Texas      Insurance          Company          ("Texas          Insurance")          proyides       Wellpath        Recovery


Solutioris,        LLC      and 901 45th Street West                Palm Beach Behavioral                 Health      Hospital        Company,        LLC


liability         insurance         through       Texas       Insurance         Policy        No.      BUQSTRTTNOll30005000l03


effective         March     15, 2023      through         March      15, 2024.       The named           insured      under    the Policy       is CCS-


CMGC          Parent      Holdings,      L.P.,       and Wellpath         Recovery          Solutions,       LLC      and 901 45th         Street West


Palm        Beach     Behavioral        Health        Hospital      Company,        LLC       are subsidiaries            of this company.           Thus,


Affidavit         of James Seitz                                                                                                                     Page 1
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Wellpatli         Recovery         Solutions,       LLC       and 901 45tli               Street West        Palm Beach             Behavioral       Healtli


Hospital         Company,       LLC       are covered under the policy.                     The shared per claim limit                 under the Texas


Insurance         Policy     on this potential             claim    is $3,000,000            with       an aggregate        limit    of $6,000,000.         A


redacted         copy of this policy             is attached hereto as Exhibit                   "A".


            b.           AXA        XL      Insurance        Company              Ltd.     ("AXA"),         through        Lloyd's      America,        hic..


provides         Wellpath       Recovery          Solutions,        LLC     and 901 45th Street West Palm Beach Behavioral


Health           Hospital          Company,                LLC        liability           insurance          through          AXA          Policy        No.


BO146HCUSA2300348                         effective        March     15, 2023 through                   March     15, 2024. The named insured


under the Policy             is CCS-CMGC                Parent Holdings,                 L.P., and Wellpath             Recovery       Solutions,      LLC


and 901 45th Street West Palm Beach Behavioral                                      Health Hospital             Company,       LLC      are subsidiaries


of this company.             Thus, Wellpath             Recovery         Solutions,         LLC         and 901 45th Street West Palm Beach


Behavioral          Health      Hospital         Company,          LLC     are covered under the policy.                      The shared per claim


limit    under      the AXA             Policy     for Wellpath           Recovery          Solutions,          LLC     on this potential           claim      is


$5,000,000          with    an aggregate           limit    of $5,000,000.           The AXA             policy    is in excess of a $15,000,000

SIR. A redacted             copy      of this policy        is attached hereto as Exhibit                   "B".


            c.              AlliedWorldAssuranceCompany(U,S.)hic.("AlliedWorld")providesWellpath


Recovery           Solutions,         LLC        and 901 45th          Street West            Palm        Beach       Behavioral       Health      Hospital


Company,           LLC      liability       insurance       through       Allied         World     Policy       No. 0312-7790          effective     March


15, 2023 through               March        15, 2024. The named                    insured       under the Policy            is CCS-CMGC              Parent


Holdings,          L.P..      Wellpath           Recovery          Solutions,        LLC         and 901 45th           Street      West    Palm      Beach


Behavioral          Health      Hospital          Company,          LLC      are subsidiaries               of this company.           Thus,       Wellpath


Recovery           Solutions,         LLC        and 901 45th          Street       West Palm             Beach       Behavioral       Health       Hospital


Company,           LLC      are covered           under the policy.          The shared per claim                  limit    under the Allied          World


Affidavit        of James     Seitz                                                                                                                   Page 2
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Policy      on this potential           claim    is $2,000,000          witli      an aggregate          limit    of     $2,000,000.         The Allied


World       Policy      is in excess        of an AXA          XL    Insurance         Company         Ltd       ("AXA")         $5,000,000          limit      /


aggregate         and    the      excess    SIR limit         of $15,000,000.              A redacted        copy      of this policy           is attached


hereto      as Exhibit     "C".



            d.           AXA       XL      Insurance         Company          UK    Ltd.      ("AXA        XL      Excess"),       through         Lloyd's


America,         Inc. and XL        Global      Services       Inc., provides          Wellpath        Recovery         Solutions,        LLC      and 901


45th Street West Palm Beach Behavioral                           Health       Hospital        Company,       LLC        excess liability         insurarice


through       Unique       Market       Reference        B1820WLS23D165                     and is effective            March      15, 2023        through


March       15, 2024.      The excess policy             follows      the Allied           World    Policy       No.     0312-7790.          The named


insured       under      AXA       XL      Excess       Policy       is CCS-CMGC                Parent       Holdings,         L.P.,     and     Wellpath


Recovery          Solutions,       LLC       and 901         45th    Street     West       Palm     Beach         Behavioral           Health     Hospital


Company,           LLC     are subsidiaries          of this company.              Thus,      Wellpath       Recovery           Solutions,        LLC      and


901 45th         Street West       Palm      Beach      Behavioral        Health       Hospital        Company,          LLC      are covered           under


the policy.        The shared per claim              limit     under the AXA             XL    Excess      Policy       on this potential          claim      is


$3,000,000withanaggregatelimitof                              $3,000,000,andisonlyavailableoncetheunderlyingexcess


policies      and the SIR           is exhausted.            A redacted         copy     of this policy          is attached       hereto        as Exhibit

11   }i




            4.           In addition,       enclosed         please find the redacted              Declarations          pages for these policies,


which       identify     901 45'        Street West Palm Beach                  Behavioral         Health        Hospital       Company,          LLC      and


Wellpath          Recovery        Solutions,      LLC         as covered        entities      as additional         named        insureds        under       the


above-identified           insurance        policies.        The redacted       Declaration           pages are attached            hereto       as Exhibit


liE))



                               [SIGNATURE               AND         NOTARY          ON FOLLOWING                       PAGE]


Affidavit        of James Seitz                                                                                                                         Page 3
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FURTHER              AFFIANT           SAYETH              NOT.



                                                              3fr,es     8etbz
                                                            JAMES       SEITZ
                                                            Director    of Insurance



ST ATE        OF TENNESSE


COUNTY              OF DAVIDSON                   )


             Subscribed       and sworn to before me this                          day of September,     2024.



                                                                        y:ffbm7 Lox(le.t,l @
                                                                       Notary    Public,   State of Tennessee
(SEAL)



                       Online Notary Public.
                                                                                                        09/07/2026
                       Notarization facilitated       by               My Commission         Expires:
                       SIGNiXai




Affidavit      of   James    Seitz                                                                                   Page   4
               Case 24-90533 Document 181 Filed in TXSB on 11/26/24 Page 73 of 88
Filing # 211308828 E-Filed 11/19/2024 06:10:45 PM                         Exhibit "D"



                                     IN THE     CIRCUIT          COURT         OF THE            1 1""    JUDICIAL          CIRCUIT
                                             IN AND       FOR MIAMI-DADE                        COtJNTY,          FLORIDA


                                                                                                          CIVIL      DIVISION


                                                                                                          CASE       N0.    2023-24772-CA-01


          GRACIENNE                 MYERS      and
         DANIEL           MYERS,


                      Plaintiffs,


         Vs


         TB ISLE          RF,SORT        LP, 901 45"            STREET
         WEST         PALM          BEACH      FLORIDA
         BEHAVIORAL                  HEALTH          HOSPIT      AL
         COMPANY,               LLC     and TARIKA          WYNDS,


                      Defendants.



                                                                   NOTICE            OF ST AY


         TO THE           HONORABLE             JUDGE           OF SAID       COURT:


                      COMES          NOW,      901 45"'         STREET        WEST          PALM          BEACH        FLORIDA           BEHAVIORAL


         HEALTH            HOSPITAL            COMPANY,                LLC    and TARIKA                  WYNDS,           Defendants,      in the   above-


         captioned proceeding, and file this Notice of Stay and would respectfully show the Court the

         following:


                     1.         On November             11, 2024 (the "Petition                 Date"),     Wellpath        Holdings,     Inc. and certain


         of its debtor affiliates (the"Debtor")                           filed Voluntary Petitions for Non-Individuals Filing

         Bankruptcy         for relief       under     chapter    II     of title    II     of the United            States Code        (the "


         Code")       in tlie       United    States     Bankruptcy          Court        for    the     Soutliern     aDistrict of      Texas   (Houston


         Division)        (the "Bankruptcy           Court").     The Debtors'            chapter        11 cases are being jointly          administered


         for procedural         purposes       only under        the lead Case No. 24-90533-(ARP).
           Case 24-90533 Document 181 Filed in TXSB on 11/26/24 Page 74 of 88




            2.            On November             12, 2024,            the Bankruptcy               Court     entered            an Amended           Interim          Order


Enforcing the Automatic Stay [Docket No. 69] (the""),                                                                      pursuant to which the above-

captioned          proceeding,         among          otlier     lawsuits         filed       as of the Petition                 Date     in which        a Debtor          is


named       as one of the defendants                     therein,         is stayed        in its entirety,           including           the plaintif:f's         claims


against     the non-Debtor             defendants,             on an interim              basis pursuant            to section           362 of the Bankruptcy


Code.       A copy        of the Stay Order              is attached            hereto     as Exhibit         1.


            3.           On        November           14,      2024,        the        Bankruptcy           Court          entered         an    Amended           Order


(I) Authorizing the Debtors to (A) Honor and Incur Obligations to Professional Corporations, and

(B) Obtain New Professional Corporation Contracts, (II) Extending Statutory Protections to

Prqfessional Coiporatiorrs, and (Ilr) Graming Related Relie.f [Docket No. 91] (the"

Order"),         pursuant      to which       the above-captioned                       proceeding,         among              other    lawsuits      filed     as of the


Petition         Date   in which         a professional                corporation            associated           with         a Debtor        (the "Professional


Corporation")            is named       as a defendant                 or one of the defendants                      therein,          is stayed     in its entirety,


including         the Plaintiff'      s claims        against      the Professional               Corporation.                 A copy      of the PC Stay Order


is attached        hereto     as Exhibit         2.


            4.           Pursuant        to   the      PC       Stay      Order         and    section        362         of    the     Bankruptcy            Code,       the


commencement                of the Debtors'           chapter       11 cases operate               as an interim               stay applicable         to all persons


(and    all tliose      acting      for or on tlieir           behalf)      and all goverru'nental                  units        (and    all those      acting         for or


on their     behaIf),       o:t:


                   a.   "[T]he       commencement                  or continuation,               including          the issuance               or employment              of


                        process,       of a judicial,             administrative,                or other      action            or proceeding           against         any


                        Professional          Corporation                that    (i)    was    or could       have             been     commenced             before     the


                        Petition      Date,      or an act to recover                  a claim      against        any Professional                Corporation           that
Case 24-90533 Document 181 Filed in TXSB on 11/26/24 Page 75 of 88




         arose      prior    to     the     Petition            Date,       and       (ii)     may        trigger      the        Debtors'         indemnity


         obligations         to    such       Professional                Corporation                under      the     applicable             Professional


         Corporation              Contract                or       such         Professional                Corporations'                  organizational


         documents;


   b.    [T]he      enforcement,            against            any Professional                Corporation            or against          property         of any


         Professional            Corporation,              of a judgment                (i) obtained           before        the Petition            Date     and


         (ii)    which      triggered              the      Debtors'            indemnity             obligations            to     such       Professional


         Corporation             under       the          applicable            Professional               Corporation              Contract          or    such


         Professional            Corporations'                 organizational                documents;


    c.   [A]ny       act    to     obtain          possession             of,    or     exercise           control       over,        property         of     any


         Professional            Corporation               that     may     trigger           the    Debtors'          indemnity             obligations        to


         such       Professional            Corporation                 under         the      applicable             Professional               Corporation


         Contract        or such ProfessionaI                      Corporations'               organizational            documents;


   d.    [A]ny      act to create,          perfect,           or enforce         any lieu          against     property           of ariy Professional


         Corporation             to the extent              that    (i) such          lien     secures        a claim        that        arose     before      the


         Petition        Date      and      (ii)     it    triggered            the    Debtors'            indemnity              obligations         to     sucli


         Professional            Corporation               under      the applicable                 Professional            Corporation             Contract


         or such Professional                 Corporations'                organizational                 documents;              and;


   e.    [A]ny      act to collect,          assess, or recover                  a claim         against       any Professional                  Corporation


         that    (i) arose before            tlie        Petition       Date      and (ii)          may     trigger      the Debtors'              indemnity


         obligations         to    such       Professional                Corporation                under      the      applicable            Professional


         Corporation              Contract                or       such         Professional                 Corporations'                 organizational



         documents.PC Stay Order ffl4.
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                      As a result   of the extension        of the automatic           stay to tlie Defendants,                all parties    are


stayed from      any further     continuation       of these proceedings            until     such time as the Bankruptcy                Court


may order       otherwise.


                      The automatic       stay has not been lifted           or otherwise             n'iodified;     the automatic          stay


referenced      above remains       in effect.


                      The Defendants       reserve    their rights    to bring        an action        in the Bankruptcy             Court    for


any violation      of the automatic       stay.


           WHEREFORE,            PREMISES          CONSIDERED,             Defendants            pray that this Court             take notice


of the PC Stay Order and the automatic                 stay, and that further               action    be stayed     and for such other


and further     relief    as to which    it may be justly     entitled.


Tliis   19"1 day of November,           2024.


                                            CERTIFICATE               OF SERVICE


           WE HEREBY           CERTIFY          that a copy of the foregoing                was electronically         submitted       via the
Clerk's    e-Portal      this 19"1 day of November,         2024, to all parties              of record.


                                                             BILLING,            COCHRAN,                 LYLES,
                                                              MAURO           & RAMSEY,                   P.A.
                                                             Las Olas Square,                Suite 600
                                                             515 East Las Olas Boulevard
                                                             Fort Lauderdale,               Florida     33301
                                                             (954)    764-7150/(954)                 764-7279       (facsimile)
                                                             ftl-pleadings@,bclmr.com
                                                             Attorneys for DefendaMs
                                                             901 45'h Street           West Palm           Beach     Florida
                                                             Behavioral          Health        Hospital      Company,          LLC    and
                                                             Tarika       Wynds


                                                             B7:          /s/ Jeffery R. Lawley
                                                                          JEFFERY     R. LAWLEY
                                                                          Florida      Bar No.:        0596027
                                                                          jrl@,bclrnr.com
                                                                          LORI      B. LEWELLEN
                                                                          Florida      Bar No. 637696
                                                                          lbl@,bclmr.com
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                         EXHIBIT       1
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                                                                                                                                                       United States Bankruptcy Court
                                                                                                                                                            Southern District of Texas

                                                                                                                                                                 ENTERED
                                                                                                                                                              November          42, 2024
                                        IN THE           UNITED                ST ATES             BANKRUPTCY                   COURT
                                                                                                                                                              Nathan   Ochsner,     Clerk
                                              FOR       THE         SOUTHERN                       DISTRICT          OF TEXAS
                                                                       HOUSTON                     DIVISION



In re:                                                                                                         Chapter       11


WELLPATH                    HOLDINGS,                  INC.,        et al.,'                                   Case No. 24-90533                  (ARP)


                                                                                                               (Joint     Administration            Requested)
                                                                 Debtors.
                                                                                                               Re Docket             No.: 17


                 AMENDED                     INTERIM              ORDER              ENFORCING                     THE      AUTOMATIC                  STAY


             Upon        the emergency                   n'iotion        (the "")2                      of tlie above-captioned                   debtors     and debtors


in possession           (collectively,                the "")                       for entry        of interii'n    and final        orders,      pursuant      to section


362(a)      of the Bankruptcy                     Code, enforcing                  the Automatic             Stay in the Lawsuits3                or in the alternative


extending             the      application               of      the       Automatic                Stay     to     the     Non-Debtor              Defendants          until


consummation                 of a chapter             11 plan in these chapter                      11 cases, as more fully              described          in the Motion;


and the Court               having          jurisdiction         to consider              the Motion         and the relief           requested       therein     pursuant


to 28 U.S.C. § 1334 and the Order ofRefererice to BarikruptcyJudges, General Order 2012-6 (S.D.

Tex.     May         24, 2012)              (Hinojosa,          C.J.);     and the Court               having       found      that    this     is a core proceeding


pursuant         to 28 u.s.c.                § 157; and the Court                    having         found     that it may enter a final               order     consistent


with     Article       III     of the United               States        Constitution;              and the Court           having       found      that venue         of the


Chapter          11 Cases and relatcr3 proceedings                                  being          proper    in this district          pursuant       to 28 U.S.C.         §§


1408      and 1409;            and given              that notice          of the Motion               having       been provided             to the Notice        Parties,




       A complete        list of the Debtors             in these        chapter     11 cases n'iay be obtained             On tlie website   of the Debtors' claims
       and noticing          agent     at https://dm.epiqll.com/Wellpath.                           The Debtors'     service      address for these chapter 11 cases
       is 3340     Perimeter         Hill    Drive,    Nashville,        Tennessee         37211.

2      Capitalized      terms        used knit not otherwise defined herein shall have the meanings ascribed to them in the Motion.

3      For the purposes          of this Interim           Order,      "Lawsuits"          shall    mean    any lawsuits     filed    as of the    Petition Date in which
       a Debtor      is named         as one of the defendants                 therein.
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and this          Interim         Order       being         served       on the Notice                 Parties        in accordance               with     paragraph          l hereof,

notice      shall     be deei'ned             adequate            and appropriate                  under       the circumstances,                   and     it appearing           that no

otlier    or       further        notice        need         be provided;               and        the      Court       having           reviewed          and      considered            the

Motion;            and the Court               having           held     a hearing            to consider              the     relief     requested          in the Motion            (the


"");                        and     tlie     Court          l'xaving     determined                tliat    tlie     legal      and      factual         bases     set forth        in the


Motion,           and at tlie Hearing                  establish         just     cause       for the relief             granted         lierein;        and this     Coutt        having

determined            that tlie relief              requested           in tlie     Motion           is necessary              to avoid       imi'nediate           and irreparable


harm      to the Debtors               and their            estates      as contemplated                    by Bankruptcy                 Rule      6003;        and all objections


and reservations                  of rights         filed     or asserted          in respect              of the Motion,               if any, having            been withdrawn,


resolved,          or overruled,              in each          case,      with        prejudice;             and upon            all of the proceedings                   had      before

tlie Court;          and after             due deliberation               and sufficient                   cause      appearing          therefor,         it is hereby

              ORDERED,                     ADJUDGED,                     AND        DECREED                    THAT


             1.              The final         hearing           (the "Final           Hearing")             on the Motion                shall     be held       on December             5,

2024,     at 3:00            p.m.      (prevailing              Central          Time).            Any       objections            or responses              to entry        of    a Final


Order     on tlie         Motion            shall     be filed          and served             on the Notice                 Parties       and      counsel         to any        statutory

coinmittees           appointed              in these         chapter       11 cases           so as to be actually                     received         on or before         4:00 p.m.

(prevailing           Central         Time)          on December                  2, 2024.             The         Debtors       shall      serve        a copy      of this       Interim


Order      on      the      Notice          Parties         witliin      five      business            days         of the      date      hereof.          In the     event        that    no


objections          to tlie entry            of the Final              Order       on the Motion                   are timely           received,         this    Coutt    may       enter


such Final          Order         without           the need           for the Final           Hearing.


            2.               The Lawsuits                   are stayed          in their     entirety,             including       the plaintiffs'               claims against tlie

Non-Debtor               Defendants,            on an interim               basis        pursuant            to section          362 of the Bankruptcy                    Code.

             3.              Nothing          in this         Interim      Order           shall     prejudice           the right         of any creditor            to seek relief


froi'n   the Automatic                 Stay     pursuant              to section         362       of the Banlaauptcy                    Code.


                                                                                               2
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                       Any       Bankruptcy         Rule      or Banlcruptcy             Local      Rule     that   i'night      otherwise         delay   the


effectiveness         of this    Interim      Order        is hereby     waived,         and the terms           and conditions            of this   Interim


Order     shall    be effective         and enforceable          immediately             upon      its entry


                       The      Debtors      are authorized            to take     any    action       deemed       necessary           or appropriate         to


implement          and effectuate         the terms        of, and the relief       granted         in, this Interim          Order      without     seeking


further    order     of the Court.


                       Tlie     Court     shall   retain     exclusive     jurisdiction          over      any matter         arising     from     or related


to t)ie impleinentation,            interpretation,           and enforcement             of tl'iis    Interim      Order.



Signed:      November           12, 2024




                                                                                                                $1
                                                                                                         WORPerez
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                         EXHIBIT       2
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                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                  Southern District of Texas

                                                                                                                                                       ENTERED

                               IN THE             UNITED              ST ATES           BANKRUPTCY                     COURT                     NOVember
                                                                                                                                                      "- ao"
                                      FOR        THE        SOUTHERN                    DISTRICT           OF TEXAS                               Nathan
                                                                                                                                                       Ochsner,
                                                                                                                                                             Clerk
                                                               HOUSTON                  DIVISION



In re:                                                                                               Chapter      II


WELLPATH               HOLDINGS,                INC., et al.,'                                       Case No. 24-90533                (ARP)

                                                                                                     (Joint Administration               Requested)
                                                          Debtors.
                                                                                                     Re: Docket          No. 15


                        AMENDED                  ORDER           (I) AUTHORIZING                        THE       DEBTORS              TO
                       (A) HONOR               AND        INCUR            OBLIGATIONS                  TO PROFESSIONAL
         CORPORATIONS                         AND        (B) OBTAIN               NEW       PROFESSIONAL                     CORPORATION
                  CONTRACTS,                    (II)     EXTENDING                 ST ATUTORY                 PROTECTIONS                    TO
      PROFESSIONAL                      CORPORATIONS,                           AND       (III)    GRANTING               RELATED               RELIEF


             Upon tlie emergency                  motion        (tlie "Motion")2             of the above-captioned                  debtors      and debtors


in possession          (cotlectively,          tlie "Debtors")             for entry of an order (tliis "Order"),                     (a) authorizing,        but


not directing,         tlie Debtors           to (i) honor, pay, or otlierwise                      satisfy    any and all prepetition                 and post-


petition     obligations        incurred           in relation         to the Professional                Corporations,             including     obligations


pursuant to the Existing                 Professional            Corporation             Contracts       and (ii) enter into and honor,                  pay, or


otlierwise      satisfy any and all prepetition                       and post-petition             obligations        related to attracting,           seeking,


entering       into,     and    maintaining                New        Professional           Corporation          Contracts,           (b)    extending       the


(i) automatic          stay    under          section        362      of    the        Bankruptcy         Code         and   (ii)    Anti-discrimination


Provisions,       to tlie Professional                 Corporations          on a limited         basis, (c) authorizing             the applicable        banks


and financial          institutions          to receive,       process,        honor,      and pay all checks or wire transfers                          used by


the Debtors to pay and satisfy the foregoing,                                and (d) granting           related relief, as more fully                  described




    A complete     list of tlie Debtors          in tl'iese chapter        11 cases may be obtained           on the website        of tlie Debtors'    proposed
    claims    and noticing     agent at https://dm.epiqll.coin/Wellpatli.                         Tlie Debtors'   service     address for these        chapter 11
    cases is 3340 Periineter          Hill    Drive,     Nashville,    Tennessee         37211.

2   Capitalized    terms used but not otherwise                 defined      lierein    shall have the meanings         ascribed     to them in the Motion.
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                        Case         24-90533                  Document                91      Filed       in TXSB               on 11/14/24                    Page           2 of 7




 in the Motion;                      and this         Court         having       jurisdiction             to consider             tlie Motion            and the relief                requested


therein pursuant to 28 U.S.C. § 1334 and the Order of Reference to Bankruptcy Judges, General

Order              2012-6           (S.D.     Tex.      May          24, 2012)          (Hinojosa,              C.J.);     and this          Court       having          found        tliat     this    is


a core             proceeding               pursuant           to 28 U.S.C.                 § 157;       and this          Court        having         found         that      it may          enter      a


final        order        consistent           with      Article        III of the United                 States         Constitution;              and this         Court      having          found


that venue                 of these          chapter          II     cases     and related           proceedings                 being        proper        in this       district       pursuant


to 28 U.S.C.                   §§ 1408          and 1409;              and due and proper                       notice      of the Motion                having          been        provided          to


the Notice                Parties,          such notice             having        been adequate                 and appropriate                 under       tlie circumstances,                       and


it appearing                 that      no other          or further            notice       need     be provided;                 and this          Court       having          reviewed              and


considered                  the      Motion           and      the     First      Day        Declaration;                and    this        Court      having          held      a hearing             to


consider                t]ie relief         requested              in the Motion             on a final          basis      (the "");                        and tliis          Court          having


determined                  tliat     the     legal     and factual              bases       set forth          in the Motion                 and the First              Day      Declaration


and at tlie               Hearing            establish         just     cause         for    the relief          granted         herein;        and this         Court          having          found


that     the relief                 requested          in the         Motion          is in the          best     interests         of the          Debtors,          tlieir     estates,         their


creditors,               and other           parties          in interest;            and this       Court        having          determined             that    the relief            requested


in tlie Motion                 is necessary              to avoid         iinmediate             and irreparable                 hari'n      to the Debtors                 and their          estates


as contemplated                        by Bankruptcy                   Rule       6003;        and       all objections             and       reservations              of rights             filed    or


asserted            in respect              of the Motion,              if any,        having        been withdrawn,                     resolved,          or overruled;               and upon


al)     of     the        proceedings                 )iad     before          this     Court;       and         after      due        deliberation             and       sufficient             cause


appearing                therefor,           it is hereby


                   ORDERED,                    ADJUDGED,                       AND          DECREED                 THAT:


                   1.               The Debtors               are autliorized,              but not directed,                  to lionor,       pay,     or otherwise                satisfy          any


and          all        prepetition            and           post-petition              obligations               incurred             in     relation          to      the      Professional


                                                                                                     2
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                 Case      24-90533                Document                 91          Filed         in TXSB             on 11/14/24                        Page          3 of 7




Corporations,             including         obligations               prirsuant         to Existing               Professional                    Corporation            Contracts          in the


ordinary         course        of business.


                          The       Debtors           are       authorized,              but         not      directed,              to     enter       into       New        Professional


Corporation          Contracts,            in the ordinary               course         of business;                provide,              however,           that the Debtors                must


provide      counsel           to tlie    DIP     Lenders             and counsel               to tlie Ad              Hoc      Group             at least       five     business         days'

advance       notice       prior        to entering           into     any New            Professional                  Corporations                   Contracts.


                          Tlie     Debtors'         contractual             relationships                    with       the Profess'ional                       Corporations              and   the

PC Physicians,             and tlie        Professional               Corporation                   Contracts           are entitled                to the protections                set    forth

in sections        541(c)        and 365(e)             of tlie       Bankruptcy                Code         to the maximum                         extent        permitted          by     law.

            4.            Subject         to paragraphs                 6 and       7 below,                pursuant             to section             362        of the      Bankruptcy


Code,      the comi'nencement                    of these         chapter         11 cases shall                  operate            as an interim               stay pending             further


order     by the Court,             applicable               to all    persons           (and         all those          acting             for     or on tlieir           behalf)        and all

goveriu'nental          units      (and     all those           acting      for    or on their                behalf),          of:


                          a.       the commencement                        or continuation,                       including               tlie     issuance         or employment                  of
                                   process,        of a judicial,              administrative,                     or other          action          or proceeding             against          any
                                   Professional                Corporation              that         (i) was        or could               have       been        commenced                before
                                   the     Petition            Date,      or      an      act         to    recover            a claim               against         any      Professional
                                   Corporation                that      arose      prior            to the         Petition           Date,          and        (ii) may       trigger          the
                                   Debtors'             indeinnity              obligations                  to     such        Professioxial                    Corporation                under
                                   the      applicable                Professional                    Corporation                    Contract              or      such       Professional
                                   Corporatioi'is'              organizational                  documents;


                          b.       tlie   enforcement,                 against          any Professional                       Corporation                  or against         property            of
                                   any     Professional                Corporation,                   of a judgment                   (i)        obtained         before       the    Petition
                                   Date     and       (ii)     which       triggered                 the    Debtors'                 indemnity                  obligations           to     such
                                   Professional                  Corporation                        under         the    applicable                  Professional             Corporation
                                   Contract        or such Professional                             Corporations'               organizational                    documents;


                          c.       any     act     to        obtain      possession                  of,     or     exercise              control          over,         property  of any
                                   Professional               Corporation               tliat        may     trigger          tlie    Debtors'              indemnity         obligations
                                   to      such         Professional                    Corporation                     under              the        applicable             Professional
                                   Corporation                 Contract            or      such             Professional                    Corporations'                  organizational
                                   documents;

                                                                                                3
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                          d.        any       act      to       create,          perfect,             or      enforce            any      lien       against         propeity           of   any
                                    Professional                 Corporation                 to the          extent        that     (i)   such       lien       secures         a claim      that
                                    arose         before         tlie      Petition          Date          and    (ii)     it triggered             the       Debtors'           indemnity
                                    obligations                   to        sucli          Professional                     Corporation                    under          the     applicable
                                    Professional                   Corporation                    Contract                 or      SLICII        Professional              Corporations'
                                   organizational                      documents;              and


                          e.       any        act      to       collect,            assess,           or      recover            a claim           Professional
                                                                                                                                                    against          any
                                    Corporation                 that       (i)   arose           before          the Petition  Date and (ii) may trigger the
                                   Debtors'             indemnity                   obligations                   to sucli Professional  Corporation      under
                                   tl'ie      applicabe                   Professional                  Corporation                    Contract            or     sucli         Professional
                                   Corporations'                  organizational                      documents.


            5.            Subject           to     paragraphs                6 and           7 below              and       pending          further            order      by     the     Court,


pursuant         to section        525 of the Banlvuptcy                               Code        (and       subject           to the exceptions                 set forth        in section


525(a)      of the Bankruptcy                     Code),         a governi'nental                     unit     may        not deny,          revoke,            suspend,         or refuse     to


renew       a license,         permit,            cliaiter,            frai'ichise,         or      other        similar          grant      to,     condition             such grant          to,

discriminate          with     respect            to such a grant                against,             deny       employment                 to, terminate               the employment


of, or discriminate                with      respect          to employment                       against,           any        Professional           Corporation               on account


of (a) the commencement                           of tl'iese chapter                  II    cases,         (b) the Debtors'                 insolvency,            or (c)       the fact that

the Debtors          have      not paid           a debt that              is dischargeable                    in these           chapter        11 cases.

            6.           Within            five    business              days       of the date              hereof,        the Debtors              sliall      serve     a copy         of this


Order     on the Notice              Parties         and each plaintiff                        (or,     where         applicable,            their        counsel)         in any       lawsuit

filed    as of the Petition                Date       in which              a Debtor             is named            as one of the defendants                            therein, and all

persons      and governi'nental                    entities        listed        on the certificate                      of service         filed      in connection               with      such

service     (tlie "Service             Notice")               sliall      be bound               by tlie         relief         granted      in paragraphs                 4 or 5 of tliis


Order     on an interim             basis         pending          eiitry        of a further                order       of this       Court.


            7.           Nothing            contained             herein         shall         prejudice           any person's               or governmental                    unit's rigbt

to object        to tl'ie relief      granted           in paragrap)is                     4 or 5 of this                Order      (a "Section               362/525 0bjection");

however,         sucli   Section           362/525            0bjection               i'nust      (a) be in writing,                   (b) comply               with tl'ie Bankruptcy

                                                                                                  4
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 Code, the Bankruptcy Rules, the BanlaauptcyLocal Rules, and the Proceduresfor Complex Cases

 in the Southern District                               of Texas, (c) state, with specificity,                                  the legal and factual bases thereof, and

 (d) be filed witli                    tliis     Court          and served               on the       Debtors             so as to be actually                    received           on or before


 4:00 p.m. (prevailing                           Central               Time)      on December                  27, 2024              (which      shall      not     be less than              44 days


 after the date hereof)                         (tlie "Objectioi'i                    Deadline").             Any      person          or governmental                   entity      listed     on the


 Service Notice that fails                               to tii'nely           file     and serve            a Section          362/525          0bjection               shalI      be bound           by,


 and be prohibited                       from contesting,                       the      relief     granted          in paragraplis                4 and      5 of this             Order,      as the


 Court        may         enter     an order                 granting          the relief         set forth         in paragraphs               4 or 5 of tliis             Order         on a final


 basis without the need for a final                                      hearing.             If a Section          362/525           0bjection           is timely         filed     and served,


tlie      Debtors           may,       without               further       order         froi'n     this      Court,        resolve         such     Section            362/525           0bjection


by mutual agreement                             witli        tlie objecting              paity.      If any Section                  362/525        0bjections              are filed          and not


resolved prior                  to the expiration                       of the Objection                    Deadline,          a hearing           shall      be held            on January            14,


2025        at 9:00 a.m.               (prevaiIing                Central             Time)       to adjudicate              said      Section       362/525             0bjection(s).


                8.              Nothing             in this            Order          shall    prejudice            the     right      of any       creditor            to seek       relief        fron'i


the automatic                   stay pursuant                  to section             362 of the Banlcruptcy                         Code.


                9.              Nothing                 in     tliis     Order           shall      limit       the         applicability            of     section              362(b)        of     the


Bankruptcy                 Code.


               10.              Notwithstanding                          the relief           granted         herein         and      any     actions       taken          pursuant           to such


relief,       notl'iirig         in this        Order           shall      be deemed                (a) an admission                    as to the          amount           of,      basis     for,     or


validity            of    any     claiin          against              a Debtor           entity        under        tlie     Bankruptcy              Code          or     otlier      applicable


nonbanl<ruptcy                    law,         (b) a waiver               of tlie        Debtors'            or any         otlier     party       in interest's            riglit     to dispute


any       claii'n        on any        grounds,               (c) a promise                   or requirement                to pay       any       claim,         (d)    an implication                 or


admission                that    any      particular               claim         is of a type               specified         or defined            in tlie       Motion            or any      order



                                                                                                        5
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granting            the      relief           requested             by     the       Motion            or     a finding            tl'iat     any        particular         claim         is    an


administrative                  expense             claim       or other           priority        claim,          (e)     a request              or authorization              to assume,


adopt,        or     reject           any       agreement,                 contract,          or     lease         (including               any     Professional               Corporation


Contract)            pursuant              to section           365        of t)ie       Bankruptcy                Code,        (f) an admission                    as to the         validity,

priority,       enforceability,                   or perfection               of any        lien       on, security             interest       in, or other           encumbrance               on


property           of tlie      Debtors'             estates,        (g) a waiver               or limitation              of the Debtors',                    or any     otlier      party in

interest's,          rig)its         uiider     tlie     Bai'ikruptcy             Code        or any          other      applicable               law,    or    (h) a concession                by


the Debtors            that any liens                  (contractual,              common           law,       statutory,          or otherwise)                that   may       be satisfied


pursuant           to the relief              requested             in the Motion               are valid,          and the rights                 of all parties         in    interest are

expressly           reserved           to contest            tlie    extent,        validity,          or perfection              or seek avoidance                   of all    such liens.

              11.              Notwithstanding                      anything          to the contrary                 in this      Order,          in the event          of any conflict


or inconsistency                     between         the terms            of this      Order       and tlie terins              of any order              of this     Court         approving


the post-petition                    secured        debtor-in-possession                        financing           facility       and tlie use of cash collateral                            (any


sucli    order,       a "Financing                  Order"),             including        any documentation                        with       respect        to such      financing            and

any     budget        or cash flow                  forecasts             in connection              therewith,            the terms              of the applicable                 Financing


Order       (including               any      documentation                  with        respect        to such          financing            and any          budget       or cash        flow

forecasts           in connection                 therewith)              shall      govern.            Nothing          herein        is intended              to i'nodify,          alter,    or


waive,      in any way,                 any terms,             provisions,             requirements,                or restrictions                of any Financing                  Order.


              12.              All     applicable             banks          and      financial             institutions           are hereby              authorized           to receive,


process,        honor,               and      pay      all    such         checks,         drafts,          wire      transfers,            and      other       forms         of    payment

evidencing            amounts              paid        by the Debtors                 under        this      Order,        regardless              of whether           presented          prior


to,   on, or after             the Petition              Date.           Such       banks       and finaiicial                 institutions          are authorized                 to rely     on


the representations                     of the Debtors                   as to which            checks          and fund            transfers            are issued       or    authorized


                                                                                                   6
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to be paid          pursuant         to this       Order      witliout     any      duty        of further        inquiry       and      without       liability         for

following         the Debtors'          instructions.


            13.           The      Debtors        are authorized,          but not required,              to issue,         in their     sole    discretion,            new


post-petition            checks,       or    to    effect     post-petition            fund       transfers,       for      obligations          relating          to   the


Professional         Corporations             to replace         any checks,          drafts,     wire    transfers,        and otlier      forms      of payment


that have         been    dishonored           or rejected.


            14.           Any      Bankruptcy             Rule    or Banlcruptcy                Local     Rule     that      might       otherwise           delay the

effectiveness            of this    Order         is hereby      waived,       and the teri'ns            and conditions               of this     Order shall be

effective       and enforceable              ii'nmediately         upon     its entry.


            15.           The       Debtors         are     authorized         to      take      any      action         necessary         or      appropriate            to


impleinent         and effectuate            the terms        of, and the relief           granted        in, this     Order      without          seeking     futther


order     of tl'iis Court.


            16.           This     Court      retains       exclusive      jurisdiction           over    any matter           arising      from      or    related to

tlie   implementation,              interpretation,           and enforcement              of this       Order.



Signed:      November              14, 2024




                                                                                                               ffiORPerez                        ;)
